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                           November 15, 2017




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 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · · · · TERRI HENLEY

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · November 15, 2017

 · · · · · · · Commencing at 11:20 a.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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· ·   ·   ·   ·   ·   ·1010 SunTrust Plaza
                                                                          11·   · ·   · ·   ·General Manager
10·   ·   ·   ·   ·   ·401 Commerce Street                                · ·   · ·   · ·   ·Bates WestRock 000199-0205
· ·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219                        12
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                                                                          14·   · ·   · ·   ·Bates WestRock 000206-0207
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· ·   · ·     · ·     ·- August 2016                                      · · · · · · ·e-mail to McGraw Subject: Interview
14·   · ·     · ·     ·Bates WestRock 000218-0223                         11· · · · · ·with Tracie-August 29, 2016 Bates
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·1· · · · · · · ·The deposition of TERRI HENLEY was                ·1·   Q· · · ·What is your job title?
·2· taken on behalf of the Plaintiff on November 15,               ·2·   A· · · ·Business unit HR manager.
·3· 2017, in the offices of Bone, McAllester & Norton,             ·3·   Q· · · ·Have you been in that role since April of
·4· 131 Saundersville Road, Suite 130, Hendersonville,             ·4·   2012?
·5· Tennessee, for all purposes under the Federal Rules            ·5·   A· · · ·No, ma'am.
·6· of Civil Procedure.                                            ·6·   Q· · · ·Okay.· How long have you been business unit
·7· · · · · · · ·The formalities as to notice, caption,            ·7·   HR manager?
·8· certificate, et cetera, are waived.· All objections,           ·8·   A· · · ·November of 2014.
·9· except as to the form of the questions, are reserved           ·9·   Q· · · ·What was your job before that?
10· to the hearing.                                                10·   A· · · ·Senior HR rep.
11· · · · · · · ·It is agreed that Jerri L. Porter,                11·   Q· · · ·What is the difference between a business
12· being a Notary Public and Court Reporter for the               12·   unit HR manager and a senior HR rep?
13· State of Tennessee, may swear the witness, and that            13·   A· · · ·When I was promoted to the BU HR manager, I
14· the reading and signing of the completed deposition            14·   took on additional facilities, and also took on
15· by the witness are reserved.                                   15·   salary employees.
16                                                                 16·   Q· · · ·As the senior HR rep, were you just at the
17                                                                 17·   Lewisburg plant?
18                                                                 18·   A· · · ·No, ma'am.
19                                                                 19·   Q· · · ·Which plant were you at?
20                                                                 20·   A· · · ·I was at Lewisburg and I had Chattanooga.
21· · · · · · · · · · · · · * * *                                  21·   Q· · · ·But you were still based out of the
22                                                                 22·   Lewisburg plant?
23                                                                 23·   A· · · ·Yes, ma'am.
24                                                                 24·   Q· · · ·How many facilities are you over as the
25                                                                 25·   business unit HR manager?
                                                          3DJH                                                        3DJH
·1·   · · · · · · · · · · TERRI HENLEY                             ·1·   A· · · ·Four.
·2·   was called as a witness, and after having been first         ·2·   Q· · · ·Which four?
·3·   duly sworn, testified as follows:                            ·3·   A· · · ·Chattanooga, Gallatin, Lewisburg,
·4·   · · · · · · · · E X A M I N A T I O N                        ·4·   Murfreesboro.
·5·   BY MS. COLLINS:                                              ·5·   Q· · · ·Do you have anyone that reports to you?
·6·   Q· · · ·Could you state your complete name for the           ·6·   A· · · ·No, ma'am.
·7·   record?                                                      ·7·   Q· · · ·Who is your manager?
·8·   A· · · ·It's Terri Henley, T-e-r-r-i, H-e-n-l-e-y.           ·8·   A· · · ·Regina Wimbley.
·9·   Q· · · ·Ms. Henley, what is your address?                    ·9·   Q· · · ·How long has Regina been your manager?
10·   A· · · ·320 Arnold Road, Shelbyville, Tennessee.             10·   A· · · ·I don't know the exact date.
11·   Q· · · ·What is that zip?                                    11·   Q· · · ·Who was your manager before Regina?
12·   A· · · ·37160.                                               12·   A· · · ·Melinda McGraw.
13·   Q· · · ·And what is your phone number?                       13·   Q· · · ·Ms. McGraw was your manager in 2016, right?
14·   A· · · ·(931)492-3172.                                       14·   A· · · ·Yes.
15·   Q· · · ·Is that a mobile or home?                            15·   Q· · · ·Was she your manager in 2015?
16·   A· · · ·That is my mobile.                                   16·   A· · · ·Yes.
17·   Q· · · ·Okay.· Where do you currently work?                  17·   Q· · · ·What about 2014?
18·   A· · · ·WestRock.                                            18·   A· · · ·Yes.
19·   Q· · · ·Which -- well, are you based out of a                19·   Q· · · ·Okay.· So, Ms. Wimbley probably became your
20·   particular facility?                                         20·   manager sometime 2017?
21·   A· · · ·I have a home plant that is Lewisburg,               21·   A· · · ·Yes.
22·   Tennessee.                                                   22·   Q· · · ·When Ms. McGraw was your manager, where was
23·   Q· · · ·How long have you been based out of the              23·   she based?
24·   Lewisburg plant?                                             24·   A· · · ·Humboldt, Tennessee.
25·   A· · · ·April of 2012.                                       25·   Q· · · ·What was her job title?


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·1·   A· · · ·Area HR manager.                                ·1·   Q· · · ·When I say the Gallatin plant, did you go to
·2·   Q· · · ·Okay.· So I'm gathering that the WestRock       ·2·   the sheet plant or did you go to the fulfillment
·3·   facilities are divided up into -- as far as HR          ·3·   center?
·4·   functions, are divided up into business units, and      ·4·   A· · · ·I would go to both locations.
·5·   then area, which is a larger area, and then beyond      ·5·   Q· · · ·Why would you go out there?
·6·   that, is it regional?                                   ·6·   A· · · ·I would go out to be the HR presence in the
·7·   A· · · ·Yes.                                            ·7·   facility.
·8·   Q· · · ·Who was the -- who was Ms. McGraw's boss or     ·8·   Q· · · ·Did you have set office hours?
·9·   over her?                                               ·9·   A· · · ·No.
10·   A· · · ·Joy Jones.                                      10·   Q· · · ·Did you let employees know when you were
11·   Q· · · ·Is Ms. McGraw still with WestRock?              11·   coming?
12·   A· · · ·No.                                             12·   A· · · ·Yes.
13·   Q· · · ·When did she leave?· Sometime in 2017, I        13·   Q· · · ·Who would you let know?· Or how would you
14·   guess.                                                  14·   let them know?
15·   A· · · ·No.· December of 2016.                          15·   A· · · ·I would tell the general manager.
16·   Q· · · ·Do you know why she left WestRock?              16·   Q· · · ·Would that be Tommy Whited?
17·   A· · · ·No.                                             17·   A· · · ·Yes.
18·   Q· · · ·Do you know if she was terminated or if she     18·   Q· · · ·Did you have a dedicated HR office out at
19·   quit?                                                   19·   the Gallatin plant?
20·   A· · · ·No.                                             20·   A· · · ·No.
21·   Q· · · ·You don't know?                                 21·   Q· · · ·Where would you sort of set up shop when you
22·   A· · · ·I don't know.                                   22·   were out there?
23·   Q· · · ·Where is Ms. Jones?                             23·   A· · · ·In the conference room.
24·   A· · · ·I don't understand the question.                24·   Q· · · ·Was the conference room next door to Tommy
25·   Q· · · ·Where is she based out of?                      25·   Whited's office?
                                                    3DJH                                                       3DJH
·1·   A· · · ·Atlanta.                                        ·1·   A· · · ·No.
·2·   Q· · · ·Okay.· Is that where WestRock's main offices    ·2·   Q· · · ·How close was it to Tommy Whited's office?
·3·   are, corporate offices?                                 ·3·   A· · · ·Which location?
·4·   A· · · ·No.· Norcross.                                  ·4·   Q· · · ·Both.
·5·   Q· · · ·Okay.· Norcross, Georgia?                       ·5·   A· · · ·At the sheet plant, maybe 25, 30 feet.· I'm
·6·   A· · · ·Yes.                                            ·6·   not sure of the exact distance.
·7·   Q· · · ·So, when you became the business unit HR        ·7·   Q· · · ·Like on the same hall or something?
·8·   manager, that included the Gallatin plant, and that     ·8·   A· · · ·Yes.
·9·   was in 2012, I think you said, right?                   ·9·   Q· · · ·Okay.· And what about at the fulfillment
10·   A· · · ·No.                                             10·   center?
11·   Q· · · ·Oh.· When was that?                             11·   A· · · ·His office was across the plant.· I can't
12·   A· · · ·November 2014.                                  12·   give you the distance.
13·   Q· · · ·So, November 2014 was the first time you        13·   Q· · · ·Okay.
14·   were over the -- or you were the HR person for the      14·   A· · · ·I don't know how far it would be.
15·   Gallatin plant, right?                                  15·   Q· · · ·What about Susan Hart's office?· How close
16·   A· · · ·Yes.                                            16·   was it to Susan Hart's office, the conference room
17·   Q· · · ·Who preceded you in that position?              17·   at the fulfillment center?
18·   A· · · ·I don't know.                                   18·   A· · · ·Next door.
19·   Q· · · ·So, when you became the business unit HR        19·   Q· · · ·Do you know how many plants WestRock has in
20·   manager for the Gallatin plant in November of 2014,     20·   Tennessee?
21·   after that point, how many times would you go out to    21·   A· · · ·No.
22·   the plant?· Or how frequently?                          22·   Q· · · ·Do you have a guess?
23·   A· · · ·I estimate an average of once a month.          23·   A· · · ·No.· Because I'm only responsible for the
24·   Q· · · ·Was that the same in 2015?                      24·   corrugated division.· I don't know how many WestRock
25·   A· · · ·Yes.                                            25·   has in the state of Tennessee.


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·1·   Q· · · ·Is the Gallatin plant in the corrugated         ·1·   A· · · ·It varied.
·2·   division?                                               ·2·   Q· · · ·What would it depend on?
·3·   A· · · ·Yes.                                            ·3·   A· · · ·I may drive up one morning, spend six hours
·4·   Q· · · ·Okay.· Do you know Tom Pedine?                  ·4·   at fulfillment, stay overnight, the next morning go
·5·   A· · · ·Yes.                                            ·5·   to the sheet plant or vice versa.
·6·   Q· · · ·What's his job?                                 ·6·   Q· · · ·And who determined that schedule or when you
·7·   A· · · ·Business unit general manager.                  ·7·   needed to go out there?
·8·   Q· · · ·Was that the same in 2016 and '17?              ·8·   A· · · ·I did.
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·Did you keep a calendar or schedule of when
10·   Q· · · ·Where is he based out of?                       10·   you went out to the various plants?
11·   A· · · ·Murfreesboro.                                   11·   A· · · ·For what time frame?
12·   Q· · · ·Is the business unit manager over HR?           12·   Q· · · ·Well, let's start with 2016.· And I'm
13·   A· · · ·No.                                             13·   excluding -- let me just say, I'm excluding the
14·   Q· · · ·What is it -- do you know what that job is      14·   investigation period related to Mr. Whited, because
15·   for?                                                    15·   I know that there was an uptick.
16·   A· · · ·He is responsible for the four facilities in    16·   A· · · ·I don't recall.
17·   the Tennessee BU.                                       17·   Q· · · ·Okay.· You don't recall if you kept any sort
18·   Q· · · ·And the four facilities in the Tennessee        18·   of calendar or schedule?
19·   business unit are the ones that you are the HR          19·   A· · · ·I don't recall.
20·   person for?                                             20·   Q· · · ·Okay.· Well, if you're going to be at a
21·   A· · · ·Yes.                                            21·   different plant other than the Lewisburg plant,
22·   Q· · · ·Now, you mentioned that when you would go to    22·   would you let somebody know where you were going to
23·   the Gallatin plant, you would go there to be an HR      23·   be?
24·   presence.· Like what sort of functions did you          24·   A· · · ·Yes.
25·   perform?                                                25·   Q· · · ·Who would you typically let know?
                                                    3DJH                                                       3DJH
·1·   A· · · ·I would walk the plant floor, participate in    ·1·   A· · · ·I would let my boss know.
·2·   any meetings, assist employees with any issues they     ·2·   Q· · · ·Did you have any sort of assistant or
·3·   may have, meet with the management team.                ·3·   administrative assistant that helped you?
·4·   Q· · · ·What do you mean, you would assist with the     ·4·   A· · · ·No.
·5·   employees with issues?· Like what?                      ·5·   Q· · · ·And how would you let your boss know?
·6·   A· · · ·If they had any issues, comments, or            ·6·   A· · · ·Via e-mail or phone call.
·7·   concerns.                                               ·7·   Q· · · ·And that was Ms. McGraw, right?
·8·   Q· · · ·Was that the same in 2015?                      ·8·   A· · · ·Yes.
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·Until she left in December of 2016?
10·   Q· · · ·Was that the same in 2016?                      10·   A· · · ·Yes.
11·   A· · · ·Yes.                                            11·   Q· · · ·Do you maintain your e-mails?
12·   Q· · · ·When you would go to the Gallatin plant, how    12·   A· · · ·I don't understand.
13·   much time would you spend there per day?                13·   Q· · · ·Do you have any sort of specific process
14·   A· · · ·Approximately eight hours.                      14·   where you keep certain e-mails or delete certain
15·   Q· · · ·So if you went to the Gallatin plant, you       15·   e-mails or how do you maintain your e-mails?
16·   would stay there all day?                               16·   A· · · ·I have them filed in my Outlook.
17·   A· · · ·Yes.                                            17·   Q· · · ·So it doesn't sound like you delete e-mails,
18·   Q· · · ·But you didn't have any sort of set days or     18·   right?
19·   times of the month that you would come out, right?      19·   A· · · ·I didn't say I didn't delete e-mails.
20·   A· · · ·No.· I did not have set days.                   20·   Q· · · ·Well, do you delete e-mails?
21·   Q· · · ·And when you say you would go to the            21·   A· · · ·Yes.
22·   Gallatin plant for eight hours, was that eight hours    22·   Q· · · ·What is your typical practice of the ones
23·   at the fulfillment center and eight hours at the        23·   that you delete?
24·   sheet plant, or you would split your time between       24·   A· · · ·I don't know -- I don't understand the
25·   the two?                                                25·   question.


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·1·   Q· · · ·Well, do you just delete spam type e-mails,     ·1·   Q· · · ·I understand Susan Hart was moved from the
·2·   marketing e-mails, or do you delete other business      ·2·   fulfillment center to the sheet plant.· Is that
·3·   related e-mails that you think you don't need           ·3·   correct?
·4·   anymore?                                                ·4·   A· · · ·Yes.
·5·   A· · · ·Yes, I delete spam.· Yes, I delete junk.        ·5·   Q· · · ·Why?
·6·   Yes, I have -- delete business related.                 ·6·   A· · · ·I don't know.
·7·   Q· · · ·Do you know if the company has a document       ·7·   Q· · · ·Were you involved in that decision?
·8·   destruction or preservation policy?                     ·8·   A· · · ·No.
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·Who was?
10·   Q· · · ·Okay.· Is that in the company handbook?         10·   A· · · ·I don't know.
11·   A· · · ·I don't know.                                   11·   Q· · · ·How did you find out about it?
12·   Q· · · ·What is your understanding of that policy?      12·   A· · · ·She was at the sheet plant one day when I
13·   A· · · ·It outlines what files have to be kept and      13·   came to visit.
14·   for how long and the destruction process.               14·   Q· · · ·Okay.· But you weren't involved in that at
15·   Q· · · ·Does it have any specific provisions about      15·   all?
16·   e-mails?                                                16·   A· · · ·No.
17·   A· · · ·I don't know.                                   17·   Q· · · ·I guess as the business unit manager, which
18·   Q· · · ·I can't remember if I asked you, do you         18·   is an HR job, right?
19·   supervise anyone?                                       19·   A· · · ·Would you re-ask the question?
20·   A· · · ·I do not.                                       20·   Q· · · ·Well, I think you said your job title is
21·   Q· · · ·Okay.· Did you play a part in the decision      21·   business unit -- what?· HR?
22·   to demote Larry Eden?                                   22·   A· · · ·HR manager.
23·   A· · · ·No.                                             23·   Q· · · ·So, as business unit HR manager, you're
24·   Q· · · ·Do you know anything about that?                24·   familiar with WestRock's policies?
25·   A· · · ·Yes.                                            25·   A· · · ·Yes.
                                                    3DJH                                                       3DJH
·1·   Q· · · ·What do you know?                               ·1·   Q· · · ·If you could turn to Exhibit Number 4 here
·2·   A· · · ·That he was demoted.                            ·2·   in this binder.
·3·   Q· · · ·What else do you know?· Why was he demoted?     ·3·   · · · · · · ·(Presented Exhibit No. 4.)
·4·   A· · · ·Performance.                                    ·4·   BY MS. COLLINS:
·5·   Q· · · ·Who made that decision?                         ·5·   Q· · · ·If you could turn to Page 11 for me, please.
·6·   A· · · ·The general manager.                            ·6·   Have you seen this policy before?
·7·   Q· · · ·And who was the general manager at that         ·7·   A· · · ·Yes.
·8·   time?                                                   ·8·   Q· · · ·Okay.· And is this WestRock's sexual
·9·   A· · · ·Al Hasbrouck and Tim Goeke.                     ·9·   harassment policy?
10·   Q· · · ·How do you spell Tim's last name?               10·   A· · · ·Yes.
11·   A· · · ·G-o-e-k-e.                                      11·   Q· · · ·And this policy covers any sort of unwelcome
12·   Q· · · ·What are their job titles?                      12·   sexual advances, requests for favors, or other
13·   A· · · ·Al Hasbrouck is general manager.· Tim Goeke     13·   verbal or physical conduct of a sexual nature,
14·   is the area HR manager.                                 14·   right?
15·   Q· · · ·How long has Tim been area HR manager?          15·   A· · · ·Would you repeat the question?
16·   A· · · ·I don't know.                                   16·   · · · · · · ·MS. COLLINS:· Would you repeat it.
17·   Q· · · ·What about his performance was deficient?       17·   · · · · · · ·(The requested question was read back
18·   A· · · ·I don't know that.                              18·   by the court reporter as follows:
19·   Q· · · ·Was he demoted -- did his demotion have         19·   · · · · · · ·"Question:· And this policy covers any
20·   anything to do with Tommy Whited or Michael             20·   sort of unwelcome sexual advances, requests for
21·   Kulakowski?                                             21·   favors, or other verbal or physical conduct of a
22·   A· · · ·No.                                             22·   sexual nature, right?")
23·   Q· · · ·And Al Hasbrouck, he replaced Tommy Whited      23·   · · · · · · ·THE WITNESS:· Yes.
24·   as general manager, right?                              24·   BY MS. COLLINS:
25·   A· · · ·Yes.                                            25·   Q· · · ·Okay.· Now, is an employee hitting another


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·1·   employee in the groin conduct of a sexual nature?       ·1·   A· · · ·Yes.
·2·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·2·   Q· · · ·And if submission to conduct like that,
·3·   · · · · · · ·THE WITNESS:· Would you repeat the         ·3·   either hitting in the groin -- well, let's just
·4·   question.                                               ·4·   stick with hitting in the groin -- was made a
·5·   · · · · · · ·(The requested question was read back      ·5·   condition of their employment, that would be a
·6·   by the court reporter as follows:                       ·6·   violation of WestRock's policies, right?
·7·   · · · · · · ·"Question:· Now, is an employee hitting    ·7·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·8·   another employee in the groin conduct of a sexual       ·8·   · · · · · · ·THE WITNESS:· Would you repeat the
·9·   nature?")                                               ·9·   question?
10·   · · · · · · ·THE WITNESS:· I don't know.                10·   BY MS. COLLINS:
11·   BY MS. COLLINS:                                         11·   Q· · · ·Sure.· Submission to conduct like that,
12·   Q· · · ·Why do you not know?                            12·   hitting in the groin, if that was made -- if either
13·   A· · · ·I need clarification on the question.           13·   explicitly or implicitly a term or condition of
14·   Q· · · ·Well, if you were hit in the groin, would       14·   employment, that would be a violation of WestRock's
15·   you consider that conduct of a sexual nature in the     15·   policies, right?
16·   workplace?                                              16·   A· · · ·If proven.
17·   A· · · ·Repeat the question, please.                    17·   Q· · · ·Well, let's go back to the policy.· The
18·   · · · · · · ·(The requested question was read back      18·   first bullet point up there at the top of the page,
19·   by the court reporter as follows:                       19·   says, "submission to such conduct is made either
20·   · · · · · · ·"Question:· Well, if you were hit in       20·   explicitly or implicitly a term or condition of
21·   the groin, would you consider that conduct of a         21·   employment."
22·   sexual nature in the workplace?")                       22·   · · · · That would be a violation of the policy if
23·   · · · · · · ·THE WITNESS:· May I please take a          23·   it was unwelcome hitting in the groin?
24·   restroom break?                                         24·   A· · · ·Unwelcome hitting in the groin.· Would you
25                                                            25·   repeat the question?
                                                    3DJH                                                       3DJH
·1·   BY MS. COLLINS:                                         ·1·   Q· · · ·Sure.· Would unwelcome hitting in the groin,
·2·   Q· · · ·Not while a question is pending.                ·2·   if that was made -- if submission to that kind of
·3·   A· · · ·Will you please re-read the question for me.    ·3·   conduct was made either explicitly or implicitly a
·4·   · · · · · · ·(The requested question was read back      ·4·   term or condition of a WestRock employee's
·5·   by the court reporter as follows:                       ·5·   employment, that would be a violation of this
·6·   · · · · · · ·"Question:· Well, if you were hit in       ·6·   policy, right?
·7·   the groin, would you consider that conduct of a         ·7·   A· · · ·Yes.
·8·   sexual nature in the workplace?")                       ·8·   Q· · · ·Okay.· And this policy also talks about
·9·   · · · · · · ·THE WITNESS:· Yes.                         ·9·   unreasonable interference with the work environment.
10·   · · · · · · ·MS. COLLINS:· Do you still need a          10·   Would getting kicked in the groin so that you lose
11·   break?                                                  11·   your breath and can't stand up, would that interfere
12·   · · · · · · ·THE WITNESS:· Yes, please.                 12·   with an employee's work environment at WestRock?
13·   · · · · · · ·(Recess observed.)                         13·   · · · · · · ·MS. DOHNER SMITH:· Objection.
14·   BY MS. COLLINS:                                         14·   · · · · · · ·THE WITNESS:· Repeat the question,
15·   Q· · · ·All right.· We are back on the record.          15·   please.
16·   · · · · We were talking before the break about the      16·   · · · · · · ·(The requested question was read back
17·   policies, the WestRock policies that you testified      17·   by the court reporter as follows:
18·   that you were familiar with.                            18·   · · · · · · ·"Question:· And this policy also talks
19·   · · · · Ms. Henley, we were also talking about          19·   about unreasonable interference with the work
20·   hitting in the groin.· I think you said you would       20·   environment.· Would getting kicked in the groin so
21·   find hitting in the groin to be sexual in nature,       21·   that you lose your breath and can't stand up, would
22·   correct?                                                22·   that interfere with an employee's work environment
23·   A· · · ·Yes.                                            23·   at WestRock?")
24·   Q· · · ·And that's unacceptable conduct in the          24·   · · · · · · ·MS. DOHNER SMITH:· Objection.
25·   workplace at WestRock, correct?                         25·   · · · · · · ·THE WITNESS:· I don't know.


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·1·   BY MS. COLLINS:                                         ·1·   them to do their job duties?
·2·   Q· · · ·Well, if they're getting kick or hit in the     ·2·   A· · · ·I don't remember.
·3·   groin and they can't stand up because they've lost      ·3·   Q· · · ·Did you ask them?
·4·   their breath, they wouldn't be doing their regular      ·4·   A· · · ·I don't remember.
·5·   job duties, right?                                      ·5·   Q· · · ·What would help you to remember?
·6·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·6·   A· · · ·The investigation notes.
·7·   · · · · · · ·THE WITNESS:· I don't know.                ·7·   Q· · · ·Okay.· Your investigation notes from when
·8·   BY MS. COLLINS:                                         ·8·   you talked with these people?
·9·   Q· · · ·Well, if an employee gets hit or kicked in      ·9·   A· · · ·Yes.
10·   the groin so that it hurts them so bad they fall to     10·   Q· · · ·Okay.· All right.· We'll get to those in
11·   the ground and they can't breathe, they're not doing    11·   just a second.
12·   their regular job duties, correct?                      12·   A· · · ·All right.
13·   · · · · · · ·MS. DOHNER SMITH:· Objection.              13·   Q· · · ·But you think those notes would help refresh
14·   · · · · · · ·THE WITNESS:· I don't know.                14·   your recollection as to whether or not it interfered
15·   BY MS. COLLINS:                                         15·   with their ability to perform their job duties?
16·   Q· · · ·I mean, would you be able to?                   16·   · · · · · · ·MS. DOHNER SMITH:· Objection.
17·   A· · · ·I don't know.                                   17·   · · · · · · ·THE WITNESS:· Well, I don't know.
18·   Q· · · ·If you're on the ground struggling to           18·   BY MS. COLLINS:
19·   breathe because somebody has hit you in a place that    19·   Q· · · ·So, do you think it would help you refresh
20·   hurt, you wouldn't be able to do your regular job       20·   your recollection if you looked at your notes?
21·   duties, right?                                          21·   A· · · ·Refresh recollection, yes.
22·   · · · · · · ·MS. DOHNER SMITH:· Objection.              22·   Q· · · ·Okay.· Now, is it appropriate workplace
23·   · · · · · · ·THE WITNESS:· I don't know.                23·   conduct at WestRock if a manager is showing his
24·   BY MS. COLLINS:                                         24·   private parts to one of his subordinate employees?
25·   Q· · · ·Why don't you know?· What's the problem with    25·   A· · · ·Repeat the question.
                                                    3DJH                                                       3DJH
·1·   the question?                                           ·1·   Q· · · ·Is it appropriate workplace conduct for a
·2·   A· · · ·Because I've not been hit in the groin to       ·2·   manager to show his private parts to a subordinate
·3·   know how that would affect me.                          ·3·   employee in the workplace at WestRock?
·4·   Q· · · ·Okay.· Have you talked to employees who have    ·4·   A· · · ·No.
·5·   been?                                                   ·5·   Q· · · ·Would that be considered sexual harassment?
·6·   A· · · ·Yes.                                            ·6·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·7·   Q· · · ·Okay.· Did they talk about how it made it       ·7·   · · · · · · ·THE WITNESS:· Not necessarily.
·8·   hard for them to do their jobs?                         ·8·   BY MS. COLLINS:
·9·   A· · · ·I don't remember.                               ·9·   Q· · · ·Why wouldn't it be?
10·   Q· · · ·Who have you talked to that's been hit in       10·   A· · · ·Would you repeat the question, please.
11·   the groin?                                              11·   Q· · · ·Sure.· Why wouldn't a manager showing his
12·   A· · · ·Michael Kulakowski.                             12·   private parts to a subordinate employee be
13·   Q· · · ·Who else?                                       13·   considered sexual harassment?· You said you didn't
14·   A· · · ·Jerry Harville.                                 14·   know if it would be considered sexual harassment,
15·   Q· · · ·Who else?                                       15·   and I'm wanting to know why it wouldn't be, if
16·   A· · · ·I don't remember.                               16·   that's the case.
17·   Q· · · ·Donnie Taylor, was he one of them?              17·   A· · · ·Reading the policy, exposing one time
18·   A· · · ·I don't remember.                               18·   doesn't fall under sexual harassment.
19·   Q· · · ·Okay.· Was it the ones that have been hit in    19·   Q· · · ·Where in the policy does it say a one-time
20·   the groin by Tommy Whited?                              20·   exposure of someone's penis to another employee is
21·   A· · · ·The ones?                                       21·   not sexual harassment?
22·   Q· · · ·The employees who had been hit in the groin     22·   A· · · ·It states, "Unwelcome sexual advances,
23·   by Tommy Whited.                                        23·   requests for sexual favors, and other verbal or
24·   A· · · ·Yes.                                            24·   physical conduct of a sexual nature constitute
25·   Q· · · ·Did they tell you that it made it hard for      25·   sexual harassment when:· Submission to such conduct


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·1·   is made either explicitly or implicitly a term or       ·1·   BY MS. COLLINS:
·2·   condition of individual employment...used as the        ·2·   Q· · · ·Could that be considered sexual harassment
·3·   basis for employment decisions...effect of              ·3·   under this policy?· Hitting in the groin,
·4·   unreasonable interference of an individual's work       ·4·   specifically.
·5·   performance..."                                         ·5·   A· · · ·Repeat the question, please.
·6·   Q· · · ·"...or creating an intimidating, hostile, or    ·6·   · · · · · · ·(The requested question was read back
·7·   offensive working environment."· Right?                 ·7·   by the court reporter as follows:
·8·   A· · · ·Right.                                          ·8·   · · · · · · ·"Question:· Could that be considered
·9·   Q· · · ·That's what it says.· So it doesn't say         ·9·   sexual harassment under this policy?· Hitting in the
10·   anything about a one-time exposure not being sexual     10·   groin, specifically.")
11·   harassment, correct?                                    11·   · · · · · · ·THE WITNESS:· It could be.
12·   A· · · ·It doesn't say that it is either.               12·   BY MS. COLLINS:
13·   Q· · · ·Okay.· So are you saying that a one-time        13·   Q· · · ·Okay.· If the employee found it offensive,
14·   exposure of a manager's penis to a subordinate          14·   could it be considered sexual harassment to be hit
15·   employee is not sexual harassment in your mind          15·   in the groin?
16·   because it doesn't explicitly say so in this policy?    16·   A· · · ·Yes.
17·   A· · · ·No.· Because it's not pervasive and is a        17·   Q· · · ·Okay.· Would an employee being afraid to use
18·   one-time event.                                         18·   the bathroom because they were afraid the manager
19·   Q· · · ·So, you're saying that it's not -- because      19·   would expose themselves, their private parts in the
20·   it just happened once, that it's not a big deal?        20·   bathroom, would that constitute interference with
21·   A· · · ·No.                                             21·   their ability to perform their job?
22·   Q· · · ·What are you saying?                            22·   · · · · · · ·MS. DOHNER SMITH:· Objection.
23·   A· · · ·Would you repeat the question, please.          23·   · · · · · · ·THE WITNESS:· I don't know.
24                                                            24·   BY MS. COLLINS:
25                                                            25·   Q· · · ·Okay.· Now, horseplay can be considered
                                                    3DJH                                                       3DJH
·1·   · · · · · · ·(The requested question was read back      ·1·   sexual harassment, right?
·2·   by the court reporter as follows:                       ·2·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·3·   · · · · · · ·"Question:· What are you saying?")         ·3·   · · · · · · ·THE WITNESS:· It depends.
·4·   · · · · · · ·THE WITNESS:· Would you repeat the         ·4·   BY MS. COLLINS:
·5·   previous question?                                      ·5·   Q· · · ·On what?
·6·   BY MS. COLLINS:                                         ·6·   A· · · ·The nature of the horseplay.
·7·   Q· · · ·Let me put it this way:· Can a one-time         ·7·   Q· · · ·Tell me what you would define horseplay to
·8·   event be considered sexual harassment?                  ·8·   be.
·9·   A· · · ·I don't know.                                   ·9·   A· · · ·Goofing around.
10·   Q· · · ·Well, if somebody exposed themselves to you     10·   Q· · · ·I'm talking about grabbing other employees
11·   in the workplace, a male manager of yours showed you    11·   in their private parts or hitting them in their
12·   his penis, and said, why don't you come to the          12·   private parts, that type of horseplay could be
13·   bathroom and suck my penis, would you consider that     13·   considered sexual harassment, correct?
14·   severe?                                                 14·   · · · · · · ·MS. DOHNER SMITH:· Objection.
15·   A· · · ·Yes.                                            15·   · · · · · · ·THE WITNESS:· It could be.
16·   Q· · · ·Would you consider that sexual harassment?      16·   BY MS. COLLINS:
17·   A· · · ·Yes.                                            17·   Q· · · ·And horseplay is a violation of WestRock's
18·   Q· · · ·Okay.· If an employee came to you and said      18·   code of conduct, right?
19·   this happened to me, would you consider that sexual     19·   A· · · ·Yes.
20·   harassment?                                             20·   Q· · · ·And can an employee be disciplined for
21·   A· · · ·What is "this"?                                 21·   engaging in horseplay in the workplace?
22·   Q· · · ·What I just described.                          22·   A· · · ·Yes.
23·   A· · · ·Yes.                                            23·   Q· · · ·And pursuant to this policy that we've been
24·   Q· · · ·What about assault by another employee?         24·   talking about, employees who believe they've been
25·   · · · · · · ·MS. DOHNER SMITH:· Objection.              25·   harassed, they can talk directly to the harasser and


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·1·   tell them to stop, right?                               ·1·   that they had been harassed or kicked or anything
·2·   A· · · ·Yes.                                            ·2·   like that in the workplace, those people should have
·3·   Q· · · ·And one of the ways that they can report        ·3·   reported that to divisional HR.
·4·   their problems is to notify a supervisor or a           ·4·   A· · · ·Yes.
·5·   manager, correct?                                       ·5·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·6·   A· · · ·Yes.                                            ·6·   BY MS. COLLINS:
·7·   Q· · · ·Who falls in that chain of command or that      ·7·   Q· · · ·Okay.· And the divisional HR manager, was
·8·   definition of supervisor or manager?                    ·8·   that -- who?
·9·   A· · · ·Be more specific.                               ·9·   A· · · ·Joy Jones.
10·   Q· · · ·Well, I'm asking you, it says, the policy --    10·   Q· · · ·And it says, "...along with his or her local
11·   on Page 11 of Exhibit Number 4 says, "If an employee    11·   human resources representative..."
12·   makes a complaint regarding harassment to a             12·   · · · · And the local HR representative, would that
13·   supervisor or manager, then the supervisor or           13·   be considered you?
14·   manager is required to notify his or her divisional     14·   A· · · ·What time frame?
15·   HR director..."                                         15·   Q· · · ·2016.
16·   · · · · Who would be considered a supervisor or         16·   A· · · ·Yes.
17·   manager under that part of the policy?                  17·   Q· · · ·And 2015?
18·   A· · · ·Production supervisors or managers.             18·   A· · · ·Yes.
19·   Q· · · ·What other types of managers or supervisors?    19·   Q· · · ·Okay.· And before the report in August of
20·   General manager?                                        20·   2015, had any of these people -- or 2016, had any of
21·   A· · · ·A general manager, yes.                         21·   these people reported anything to you about Tommy
22·   Q· · · ·Plant manager?                                  22·   Whited?
23·   A· · · ·Yes.                                            23·   A· · · ·Which report?
24·   Q· · · ·Any other type of supervisor or manager?        24·   Q· · · ·Before August of 2016, at any time before
25·   A· · · ·Production supervisor, customer service         25·   August of 2016, had any of these people made a
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·1·   manager, a safety manager.                              ·1·   report to you about Tommy Whited's behavior of
·2·   Q· · · ·Anyone else?                                    ·2·   hitting other employees in the groin or harassing
·3·   A· · · ·Possibly.· Any manager or supervisor.           ·3·   other employees?
·4·   Q· · · ·Okay.· Who was the production manager --        ·4·   A· · · ·No.
·5·   production supervisor at the Gallatin fulfillment       ·5·   Q· · · ·If they had witnessed such conduct, should
·6·   center?                                                 ·6·   they have reported that to you?
·7·   A· · · ·Michael White.                                  ·7·   A· · · ·Yes.
·8·   Q· · · ·And he's still the production supervisor,       ·8·   Q· · · ·And when you started dealing with Michael
·9·   right?                                                  ·9·   Kulakowski's situation, he told you that he had told
10·   A· · · ·Yes.                                            10·   Mr. Whited on several occasions to stop hitting him,
11·   Q· · · ·And the general manager, that was Tommy         11·   right?
12·   Whited, right?                                          12·   A· · · ·I don't recall.
13·   A· · · ·Yes.                                            13·   Q· · · ·But Michael Kulakowski reported to you that
14·   Q· · · ·Who was the plant manager?· Was that Larry      14·   he had been hit in the groin on numerous occasions
15·   Eden?                                                   15·   by Mr. Whited, right?
16·   A· · · ·Yes.                                            16·   · · · · · · ·MS. DOHNER SMITH:· Objection.
17·   Q· · · ·And the customer service manager?               17·   · · · · · · ·THE WITNESS:· Yes.
18·   A· · · ·Keith Hall.                                     18·   BY MS. COLLINS:
19·   Q· · · ·And the safety manager?                         19·   Q· · · ·And he also reported that he had -- that
20·   A· · · ·We did not have a safety manager.· Safety       20·   those -- that some of those incidents had been
21·   coordinator.                                            21·   witnessed by other members of management or
22·   Q· · · ·Who is the safety coordinator?                  22·   supervisors.
23·   A· · · ·Lana Potts.                                     23·   A· · · ·Yes.
24·   Q· · · ·Okay.· So, if any one of those people           24·   Q· · · ·Were any of the managers or supervisors that
25·   received a complaint or had an employee tell them       25·   he reported witnessing him being hit, written up or


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·1·   disciplined for not reporting it when they saw it?      ·1·   A· · · ·Yes.
·2·   A· · · ·Repeat the question.                            ·2·   Q· · · ·Is it different now?
·3·   Q· · · ·Were any of the managers or supervisors that    ·3·   A· · · ·It has WestRock at the top, yes.
·4·   Michael Kulakowski reported having witnessed him        ·4·   Q· · · ·Okay.· Now, you would agree with me that
·5·   being hit by Tommy Whited disciplined in any way for    ·5·   nowhere on this piece of paper does it say
·6·   not reporting that conduct to HR?                       ·6·   complaints regarding sexual harassment should -- can
·7·   A· · · ·No.                                             ·7·   be reported to this phone number?
·8·   Q· · · ·If you could turn to Page 12 of Exhibit 4,      ·8·   A· · · ·It does not specifically say sexual
·9·   please.                                                 ·9·   harassment.
10·   · · · · Down at the bottom of the page is the           10·   Q· · · ·Okay.· Has -- to your knowledge, has
11·   company's anti-violence policy.· Are you familiar       11·   WestRock ever disciplined an employee for not
12·   with that policy?                                       12·   reporting harassment or assault?
13·   A· · · ·Familiar, yes.                                  13·   A· · · ·I don't recall.
14·   Q· · · ·And pursuant to this policy, "If an employee    14·   Q· · · ·Other than handing out employee handbooks,
15·   is threatened, witnesses, or overhears a threat of      15·   do y'all make one accessible to employees in the
16·   bodily harm, he or she must report it directly to a     16·   workplace?
17·   supervisor or manager."· Right?                         17·   A· · · ·Yes.
18·   A· · · ·Yes.                                            18·   Q· · · ·Where do y'all keep them?
19·   Q· · · ·And if a manager is involved in the threat,     19·   A· · · ·Breakroom.· And the intranet has WestRock
20·   then it should be reported to local human resources.    20·   policies on there that they have access to.
21·   A· · · ·Yes.                                            21·   Q· · · ·Was that the same in 2015 and 2016?
22·   Q· · · ·And that would be you, correct?                 22·   A· · · ·Yes.· We have HR kiosks.
23·   A· · · ·Yes.                                            23·   Q· · · ·Is it the same at the fulfillment center?
24·   Q· · · ·And I think we've already gone over that no     24·   A· · · ·Yes.
25·   supervisor or manager reported anything to you about    25·   Q· · · ·Have you ever been involved in a termination
                                                    3DJH                                                       3DJH
·1·   Michael Kulakowski getting hit in the workplace?        ·1·   of an employee for incorrect information on their
·2·   A· · · ·No supervisor prior to, yes.                    ·2·   job application?
·3·   Q· · · ·Now I'm going to skip back to Page 11 again.    ·3·   A· · · ·No.
·4·   Well, no.· I'm going to jump forward to Page 7, the     ·4·   Q· · · ·Have you ever been involved in the
·5·   compliance hotline.                                     ·5·   termination of an employee for incomplete
·6·   · · · · Tell me what this is for, Page 7.               ·6·   information on a job application?
·7·   A· · · ·The compliance hotline?                         ·7·   A· · · ·No.
·8·   Q· · · ·Uh-huh.                                         ·8·   Q· · · ·Does WestRock run background checks on
·9·   A· · · ·It's another avenue for employees to report     ·9·   employees when they hire them?
10·   inappropriate behavior or concerning behavior,          10·   A· · · ·Yes.
11·   anything that they think may be inappropriate           11·   Q· · · ·Was that the same when it was RockTenn?
12·   violation of company policy.                            12·   A· · · ·I can only speak for my facilities.· Yes.
13·   Q· · · ·Okay.· And is this posted in the workplace,     13·   Q· · · ·And has it been that way since 2012, since
14·   this compliance hotline paper?                          14·   you've worked there?
15·   A· · · ·Yes.                                            15·   A· · · ·Yes.
16·   Q· · · ·Where is it posted?                             16·   Q· · · ·How far back do y'all go for background
17·   A· · · ·On the bulletin boards.                         17·   checks?
18·   Q· · · ·Okay.· And what is posted, does it look just    18·   A· · · ·Seven years.
19·   like this page, Page 7?                                 19·   Q· · · ·And as far as you know, has it always been
20·   A· · · ·What's posted today?                            20·   you just go back seven years?
21·   Q· · · ·No.· What was posted in, I don't know,          21·   A· · · ·As far as I know, yes.
22·   2015/2016.                                              22·   Q· · · ·And you did not -- WestRock did not receive
23·   A· · · ·Yes.                                            23·   any complaints from women that they were hit or
24·   Q· · · ·It looks like this document right here          24·   kicked in the groin by Tommy Whited, did they?
25·   that's Page 7?                                          25·   A· · · ·Well, I don't know.


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·1·   Q· · · ·Are you aware of any?                           ·1·   Q· · · ·What is the Speak Up! e-mails?· What do you
·2·   A· · · ·Would you rephrase the question.                ·2·   mean by that?
·3·   Q· · · ·Are you aware of any report -- of WestRock      ·3·   A· · · ·It's another avenue for employees to report
·4·   receiving any reports by women that they were hit or    ·4·   any concerns, ideas, suggestions, things of that
·5·   kicked in the groin by Tommy Whited?                    ·5·   nature, via e-mail, anonymously, or you can put your
·6·   A· · · ·I am not aware of any.                          ·6·   name to it, if you like.
·7·   Q· · · ·Okay.· And if it happened since 2012, you       ·7·   Q· · · ·Who made the -- who sent the Speak Up!
·8·   would have been made aware of it, given your role in    ·8·   e-mail?
·9·   HR, right?                                              ·9·   A· · · ·Who sent it?
10·   A· · · ·No.                                             10·   Q· · · ·Who was it from?· Was it anonymous or did it
11·   Q· · · ·Why not?                                        11·   have a name identified with it?
12·   A· · · ·Because I only supported one facility in        12·   A· · · ·I believe it was anonymous.
13·   2012.                                                   13·   Q· · · ·Okay.· Well, then what happened once you got
14·   Q· · · ·Okay.                                           14·   that?
15·   A· · · ·So I would only have knowledge of that          15·   A· · · ·I came to the -- well, I made a couple of
16·   facility.                                               16·   phone calls to employees referenced in the e-mail.
17·   Q· · · ·Okay.· But when you were over -- became over    17·   Q· · · ·Who did you call?
18·   the Gallatin facility, you would have known about       18·   A· · · ·I attempted to call Ken Buckmaster, and I
19·   it, right?                                              19·   called Johanna Crowder.
20·   A· · · ·Not necessarily.                                20·   Q· · · ·Anyone else?
21·   Q· · · ·Why not?                                        21·   A· · · ·Eventually, yes.
22·   A· · · ·It could have come to someone else.             22·   Q· · · ·Okay.· So, when you called these people,
23·   Q· · · ·Like who?                                       23·   what did you find out?
24·   A· · · ·My boss.                                        24·   A· · · ·Buckmaster never responded, so I never spoke
25·   Q· · · ·Okay.· And that was?                            25·   with him.· And my conversation with Johanna was
                                                    3DJH                                                       3DJH
·1·   A· · · ·Melinda McGraw.                                 ·1·   based on her exit interview.· She was leaving.
·2·   Q· · · ·But you're not aware of any complaints from     ·2·   Q· · · ·Okay.· What did you find out there?
·3·   women about Tommy Whited kicking or hitting them in     ·3·   A· · · ·She was leaving for another opportunity, and
·4·   the groin?                                              ·4·   she wasn't happy with the current work environment.
·5·   A· · · ·I am not.                                       ·5·   Q· · · ·Okay.· What was she not happy about?
·6·   Q· · · ·Okay.· So is it fair to say that you only       ·6·   A· · · ·I don't recall specifically.
·7·   have knowledge about men working at WestRock being      ·7·   Q· · · ·What do you recall generally?
·8·   kicked or hit in the groin by Tommy Whited?             ·8·   A· · · ·Hours.· That's all I recall.
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·Okay.· So, what about those two phone calls
10·   Q· · · ·And you agree that was a violation of           10·   led you to investigate further?
11·   WestRock's policies for him to do that?                 11·   A· · · ·I went to the facility to speak to Johanna
12·   A· · · ·Yes.                                            12·   in person.
13·   Q· · · ·Tell me about when you first found out --       13·   Q· · · ·Okay.· What about you speaking with her in
14·   how it came about that y'all investigated Tommy         14·   person led you to investigate further?
15·   Whited in August of 2016.                               15·   A· · · ·She indicated there was someone else that
16·   A· · · ·I was asked to check into a Speak Up! e-mail    16·   wanted to speak to me.
17·   that was received at corporate.                         17·   Q· · · ·Who?
18·   Q· · · ·So, that was not a Global Compliance hotline    18·   A· · · ·That was Helen Kendall.
19·   complaint?· It was something different?                 19·   Q· · · ·Okay.· And did you speak with Helen?
20·   A· · · ·Yes.                                            20·   A· · · ·I did.
21·   Q· · · ·Okay.· When did y'all start this Speak Up!      21·   Q· · · ·Okay.· What did Helen have to say?
22·   e-mails?                                                22·   A· · · ·She brought forth some items about an
23·   A· · · ·The company?                                    23·   employee being paid when he wasn't at work, alleged
24·   Q· · · ·That you know of.                               24·   that Tommy was having an affair with a subordinate.
25·   A· · · ·I don't recall.                                 25·   That's all I recall.


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·1·   Q· · · ·Okay.· How long was your meeting with           ·1·   right?
·2·   Johanna when you first met with her?                    ·2·   A· · · ·Record?
·3·   A· · · ·I don't remember.                               ·3·   Q· · · ·Record them.
·4·   Q· · · ·Just about, approximate?· Less than an hour?    ·4·   A· · · ·No.
·5·   More than an hour?                                      ·5·   Q· · · ·Like I'm talking audio recording.
·6·   A· · · ·I would say at least 30 minutes.                ·6·   A· · · ·No.
·7·   Q· · · ·Okay.· Did you take notes?                      ·7·   Q· · · ·All right.· So you spoke with Gary, you
·8·   A· · · ·Yes.                                            ·8·   spoke with Helen, and you spoke with Johanna, and
·9·   Q· · · ·What kind of notes?                             ·9·   you can't remember if you spoke with anyone else?
10·   A· · · ·What do you mean?                               10·   A· · · ·I know I spoke with other people.· I just
11·   Q· · · ·Did you handwrite them, did you record the      11·   don't remember the exact order.
12·   meeting, did you --                                     12·   Q· · · ·Okay.· Did you speak with other people that
13·   A· · · ·No.· I typed those notes.                       13·   day or --
14·   Q· · · ·Did you type them at the time?                  14·   A· · · ·It may have been the next day.· It could
15·   A· · · ·Yes.                                            15·   have been that afternoon.· I don't recall.
16·   Q· · · ·And with Helen, when you met with her --        16·   Q· · · ·And do you recall the others that you spoke
17·   first, where did you meet Johanna?                      17·   to?
18·   A· · · ·In the conference room at the sheet plant.      18·   A· · · ·I do.· Just not necessarily the order.
19·   Q· · · ·Okay.· And when you met with Helen, where       19·   Q· · · ·Okay.· Who were they?
20·   did you meet her?                                       20·   A· · · ·I had a conversation with Lana Potts, Jerry
21·   A· · · ·Same location.                                  21·   Harville.· And I believe that was it.· I was there a
22·   Q· · · ·Did you take handwritten notes or type          22·   day or two back to back --
23·   notes?                                                  23·   Q· · · ·Okay.
24·   A· · · ·Typed.                                          24·   A· · · ·-- at the sheet plant in the conference
25·   Q· · · ·Did you type them at the time?                  25·   room.
                                                    3DJH                                                       3DJH
·1·   A· · · ·Yes.                                            ·1·   Q· · · ·Were these the first round of sort of
·2·   Q· · · ·Okay.· So based on these two conversations,     ·2·   initial interviews that you conducted to figure out
·3·   what did you do next?                                   ·3·   what was going on based on the -- that e-mail?
·4·   A· · · ·I spoke with Gary Pagels, because I was told    ·4·   A· · · ·Yes.
·5·   that he wanted to speak to me.                          ·5·   Q· · · ·All right.· What did Ms. Potts have to say?
·6·   Q· · · ·Gary who?                                       ·6·   A· · · ·What I recollect is she stated that she had
·7·   A· · · ·Pagels.                                         ·7·   witnessed Tommy kiss a subordinate.· She discussed
·8·   Q· · · ·Okay.· Is he out at the sheet plant or          ·8·   communication issues.· And she gave me the name of
·9·   fulfillment center?                                     ·9·   Jerry Harville and Michael Kulakowski, and I don't
10·   A· · · ·Sheet.                                          10·   remember who else.
11·   Q· · · ·All right.· What did he have to say?            11·   Q· · · ·Okay.· And did you type up your notes from
12·   A· · · ·He was frustrated with the performance of       12·   her conversation?
13·   the facility and the direction and communication        13·   A· · · ·Yes.
14·   that the plant was currently at.                        14·   Q· · · ·What did you do with the notes?
15·   Q· · · ·Okay.· Anything else?                           15·   A· · · ·As in?
16·   A· · · ·Not that I recall.                              16·   Q· · · ·Did you e-mail them or were they a Word
17·   Q· · · ·Okay.· And then what did you do?                17·   document or --
18·   A· · · ·I don't remember exactly who I spoke with       18·   A· · · ·In an e-mail to have the date and time
19·   next.                                                   19·   stamp.
20·   Q· · · ·How long was your meeting with Helen, about?    20·   Q· · · ·Okay.· Did you just e-mail them to yourself?
21·   A· · · ·Oh, I would say at least 30 minutes.            21·   A· · · ·Yes.
22·   Q· · · ·What about with Gary?                           22·   Q· · · ·Okay.· And about how long did the meeting
23·   A· · · ·I would say about the same, at least            23·   with Lana last?
24·   30 minutes.                                             24·   A· · · ·At least 30 minutes.
25·   Q· · · ·And you didn't record any of these meetings,    25·   Q· · · ·Okay.· Anything else you can recall about


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·1·   that meeting?                                           ·1·   Q· · · ·Do you recall if he said that it happened to
·2·   A· · · ·No.                                             ·2·   other people?
·3·   Q· · · ·Do you recall any specifics about               ·3·   A· · · ·Yes.
·4·   communication issues, what she was talking about,       ·4·   Q· · · ·What did he say about that?
·5·   communication issues?                                   ·5·   A· · · ·He gave me -- he told me to speak with
·6·   A· · · ·I don't remember.                               ·6·   Michael Kulakowski, and I don't remember if anyone
·7·   Q· · · ·When she gave you the name of Jerry and         ·7·   else.
·8·   Michael Kulakowski, do you recall any specifics as      ·8·   Q· · · ·Okay.· Other than telling you to speak with
·9·   to why she told you you should talk to them?            ·9·   Michael Kulakowski because the same thing had
10·   A· · · ·I don't remember specifically what she said.    10·   happened to him --
11·   Q· · · ·Or generally why she thought you should talk    11·   · · · · · · ·MS. DOHNER SMITH:· Objection.
12·   to them?                                                12·   BY MS. COLLINS:
13·   A· · · ·I don't remember her specific words, but it     13·   Q· · · ·-- anything specific that you can recall
14·   was to the effect of the reason I needed to speak to    14·   about why he thought you needed to talk to Michael
15·   them was because of behavior issues with Tommy          15·   Kulakowski?
16·   Whited toward them.                                     16·   A· · · ·I can't remember his exact words.
17·   Q· · · ·And Lana Potts, had she turned in her notice    17·   Q· · · ·Okay.· All right.· And after you met with
18·   at that time, or was she --                             18·   these people, Ms. Potts, Mr. Harville, Gary, Helen,
19·   A· · · ·No.                                             19·   and Johanna, what did you do after that?
20·   Q· · · ·She was still working there?                    20·   A· · · ·I don't remember the exact timeline. I
21·   A· · · ·Yes.                                            21·   would have called in a report to my boss, and I know
22·   Q· · · ·Did she indicate whether or not she was         22·   that I came back to the facility, because the best I
23·   concerned about her job if she talked to you?           23·   recall, this was maybe at the end of the week, and I
24·   A· · · ·No.                                             24·   came back maybe that following Monday and/or
25·   Q· · · ·Okay.· What about Jerry Harville?· Tell me      25·   Tuesday.· I don't know the exact dates.· So I spoke
                                                    3DJH                                                       3DJH
·1·   about your conversation with him.                       ·1·   to other people.
·2·   A· · · ·Jerry discussed his work comp injury.· He       ·2·   Q· · · ·Okay.
·3·   told me that he had been hit by Tommy Whited in the     ·3·   A· · · ·I specifically remember calling Kuli,
·4·   groin area, and that he hit Tommy back.· And I don't    ·4·   because he was on vacation.
·5·   remember all of the specifics of his exact              ·5·   Q· · · ·And when you say Kuli, just for the
·6·   statement.                                              ·6·   record --
·7·   Q· · · ·Did he -- did he say that he had only been      ·7·   A· · · ·Michael Kulakowski.
·8·   hit once by Tommy Whited or did he say it had           ·8·   Q· · · ·Right.· It's just for the record.· Everybody
·9·   happened multiple times?                                ·9·   else calls him Kuli, too.
10·   A· · · ·I don't recall.                                 10·   · · · · Before we get into this, let's take a quick
11·   Q· · · ·When he said he hit Tommy Whited back, was      11·   break.
12·   that because he had been hit first?                     12·   · · · · · · ·(Recess observed.)
13·   A· · · ·Yes.                                            13·   BY MS. COLLINS:
14·   Q· · · ·Did he say anything to the effect like he       14·   Q· · · ·Now, Ms. Henley, were you aware that another
15·   was defending himself?                                  15·   complaint had been made about Tommy Whited sexually
16·   A· · · ·He told me it was a reflex.· I remember         16·   harassing an employee in 2013?
17·   that.                                                   17·   A· · · ·No.
18·   Q· · · ·Okay.· Other than being -- him telling you      18·   Q· · · ·Okay.· I'll ask you about this specifically.
19·   he'd been hit in the groin area, had he been hit or     19·   · · · · · · ·MS. COLLINS:· Let's mark this next
20·   kicked -- had he indicated he had been hit or kicked    20·   document as Exhibit Number 15.
21·   by Tommy Whited?                                        21·   · · · · · · ·(Marked Exhibit No. 15.)
22·   A· · · ·I don't remember.                               22·   BY MS. COLLINS:
23·   Q· · · ·Had he told you it had happened more than       23·   Q· · · ·Just let me know when you've had a chance to
24·   once?                                                   24·   review this.
25·   A· · · ·I don't remember.                               25·   A· · · ·(Reviewing document.)· Okay.


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·1·   Q· · · ·Have you ever seen this document before?        ·1·   investigated this would that have record.
·2·   A· · · ·No.                                             ·2·   Q· · · ·But you don't know anything about this
·3·   Q· · · ·Okay.· When you're investigating a complaint    ·3·   complaint in 2013 --
·4·   about an employee, do you go in their employee file     ·4·   A· · · ·I do not.
·5·   and see if they've had complaints made against them     ·5·   Q· · · ·-- against Mr. Whited?
·6·   in the past?                                            ·6·   · · · · So is it fair to say that you didn't take
·7·   A· · · ·Would you re-ask the question?                  ·7·   this into consideration when you conducted your
·8·   Q· · · ·Sure.· When you're investigating an employee    ·8·   investigation in 2016?
·9·   for a violation of company policies, whether it's       ·9·   A· · · ·I did not.
10·   your ethics policies or sexual harassment policy, do    10·   Q· · · ·Do you think it would have been helpful to
11·   you go back and review that employee's personnel        11·   know that he had had prior complaints of sexual
12·   file to see if they've had other complaints made        12·   harassment made against him?
13·   against them in the past?                               13·   A· · · ·No.
14·   A· · · ·Not necessarily.                                14·   · · · · · · ·MS. DOHNER SMITH:· I'm going to say
15·   Q· · · ·Why not?                                        15·   it's been marked as 15.· Is that for identification
16·   A· · · ·It would depend on the complaint and the        16·   since she couldn't authenticate it?· I'll make that
17·   allegation.                                             17·   objection and we can move on.
18·   Q· · · ·Well, if the complaint and the allegation       18·   · · · · · · ·MS. COLLINS:· I'll mark the next
19·   was about a violation of your ethics or code of         19·   document as Exhibit 16.
20·   conduct or sexual harassment policy, would you go       20·   · · · · · · ·(Marked Exhibit No. 16.)
21·   back and look at that employee's personnel file to      21·   BY MS. COLLINS:
22·   determine if other complaints like that had been        22·   Q· · · ·Okay.· This document that's been marked as
23·   made in the past?                                       23·   Exhibit 16, have you seen this before?
24·   A· · · ·Me specifically?· Yes.                          24·   A· · · ·Yes.
25·   Q· · · ·Okay.· When complaints were made against        25·   Q· · · ·Okay.· In the investigation summary that's
                                                    3DJH                                                       3DJH
·1·   Tommy Whited and you found out that he'd been           ·1·   attached to this, is this -- it says that it's
·2·   kicking employees, did you go back and review his       ·2·   updated 8/16/2016.· Is this the document that was
·3·   personnel file?                                         ·3·   attached to your e-mail from August 17th?
·4·   A· · · ·I did not.                                      ·4·   A· · · ·I mean, I don't remember if this is the
·5·   Q· · · ·All right.· Do you know if your boss,           ·5·   exact document that was attached without looking at
·6·   Melinda, did?                                           ·6·   the e-mail itself.
·7·   A· · · ·I don't know if she did.· I can't answer        ·7·   Q· · · ·Do you think it probably would have been?
·8·   that.                                                   ·8·   A· · · ·I can only assume.
·9·   Q· · · ·Would you have access to his personnel file     ·9·   Q· · · ·Okay.· And the statement from Lana Potts
10·   if you needed it?                                       10·   that's on the last page of this document at WestRock
11·   A· · · ·Yes.                                            11·   223, is that the statement she gave you?
12·   Q· · · ·Where are those files kept?                     12·   A· · · ·Yes.
13·   A· · · ·At the sheet plant.                             13·   Q· · · ·Did you ask her to write out this statement?
14·   Q· · · ·Okay.· And if -- where in the sheet plant?      14·   A· · · ·I don't recall.
15·   A· · · ·In a filing cabinet.                            15·   Q· · · ·Okay.· But this wasn't all you talked about
16·   Q· · · ·Okay.· If an employee had had a prior Global    16·   with her?
17·   Compliance complaint made against them, where would     17·   A· · · ·It is not.· It's not.
18·   this be kept?                                           18·   Q· · · ·Okay.· And going back to your -- the
19·   A· · · ·It most likely would have been kept with        19·   investigation summary, did you type up this
20·   legal.                                                  20·   investigation summary?
21·   Q· · · ·Okay.· If an employee had had a prior           21·   A· · · ·Yes.
22·   complaint of sexual harassment, would that prior        22·   Q· · · ·And it looks like at the top the initial
23·   complaint of sexual harassment be kept in their         23·   allegation was inappropriate relationship with
24·   personnel file or just with legal?                      24·   direct report, right?
25·   A· · · ·With legal and the previous owner.· Whoever     25·   A· · · ·That was -- yes, that was an allegation.


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·1·   Q· · · ·And that related to Susan Hart?                 ·1·   breasts propped up on her desk with Tommy's face
·2·   A· · · ·Yes.                                            ·2·   approximately two inches away from them.
·3·   Q· · · ·And then there was also a violation of the      ·3·   · · · · Do you recall who witness 4 is?
·4·   company code of conduct with respect to conflict of     ·4·   A· · · ·I don't.
·5·   interest, company accounting and reporting, privacy,    ·5·   Q· · · ·And some of these are lumped together, so
·6·   respect, guidance in reporting.· Right?                 ·6·   I'm not going to go through those, because it's kind
·7·   A· · · ·Yes.                                            ·7·   of hard to tell who did what.· But all of these
·8·   Q· · · ·And what was that about?                        ·8·   witness statements you typed in here, right?
·9·   A· · · ·The allegations that Tommy was paying           ·9·   A· · · ·Yes.
10·   someone when they were not physically working, and      10·   Q· · · ·All right.· And these were based on your
11·   that he was using his son's company's employees as      11·   notes after you talked with them, correct?
12·   temp labor in the facility and paying them to do        12·   A· · · ·Yes.
13·   work for the plant, construction work for the plant.    13·   Q· · · ·Witness 7, if you could turn to the next
14·   Q· · · ·Okay.· And you also have -- is that your        14·   page.· Do you recall who that was who would have
15·   handwriting on this document?                           15·   told you that?
16·   A· · · ·That is not my handwriting.                     16·   A· · · ·Larry Eden.
17·   Q· · · ·Okay.· So where it says, "3, horseplay, 4,      17·   Q· · · ·All right.· Witness 1 you said was Lana.
18·   paying five weeks," that is not your handwriting?       18·   Witness 9, do you recall who -- there are two
19·   A· · · ·That is not my handwriting.                     19·   statements from witness -- there's three statements
20·   Q· · · ·Okay.· But did you type up this document?       20·   from witness 9 on Page 220.
21·   A· · · ·Yes.                                            21·   A· · · ·(Reviewing document.)
22·   Q· · · ·All right.· And under "Related policies/        22·   · · · · I can't say with certainty.
23·   procedures," it has code of conduct and harassment,     23·   Q· · · ·Who do you think it is?
24·   looks like highlighted.                                 24·   A· · · ·Keith Hall.
25·   A· · · ·It appears to be, yes.                          25·   Q· · · ·You think witness 9 was Keith?
                                                    3DJH                                                       3DJH
·1·   Q· · · ·Did you highlight those two sections?           ·1·   A· · · ·I think witness 9 was Keith Hall.
·2·   A· · · ·I don't remember.                               ·2·   Q· · · ·So he's observed Susan accessing his e-mail
·3·   Q· · · ·Okay.· And down in the "Case Facts," did you    ·3·   for Mr. Whited, and he had said many times, you can
·4·   type up that section?                                   ·4·   leave now if you don't like how I run things, or it
·5·   A· · · ·Yes.                                            ·5·   is my way or else.· And was asked to help identify
·6·   Q· · · ·And who was -- do you recall who witness 1      ·6·   which employees made undesirable comments on the
·7·   was?                                                    ·7·   employee engagement survey, on more than one
·8·   A· · · ·I do not.                                       ·8·   occasion.
·9·   Q· · · ·Do you have a list somewhere that               ·9·   A· · · ·Yes.
10·   corresponds to who witness 1, 2, 3, 4, so on, were?     10·   Q· · · ·Okay.· Now, witness 4 stated that Tommy has
11·   A· · · ·Yes.                                            11·   called him a stupid son of a bitch, among other
12·   Q· · · ·Okay.· Where would that list be kept?           12·   things.· Was that Mr. Kulakowski?· And I'm in part
13·   A· · · ·With the files.                                 13·   basing that -- or no.· Maybe it was -- I don't know
14·   Q· · · ·Okay.· Do you recall who witness -- well,       14·   who it was.
15·   based on what it says about witness 1, does that        15·   A· · · ·Yes.· If I look at this one, witness 4 on
16·   refresh your recollection as to who it could be?        16·   this 221 page.
17·   A· · · ·Yes.· That would be Lana Potts.                 17·   Q· · · ·Okay.
18·   Q· · · ·Okay.· And witness 2, if you could read that    18·   A· · · ·Yes, witness 4, Michael Kulakowski.
19·   and see if it refreshes your recollection as to who     19·   Q· · · ·Or was witness -- it's got Kuli beside
20·   witness 2 is.                                           20·   witness 3.
21·   A· · · ·(Reviewing document.)                           21·   A· · · ·I don't know whose handwriting that is.
22·   · · · · I don't recall.                                 22·   Q· · · ·Okay.· But you think witness 4 was
23·   Q· · · ·Okay.· Do you think that one was Helen?         23·   Kulakowski?
24·   A· · · ·I don't know.                                   24·   A· · · ·Yes, I think witness 4 is Michael
25·   Q· · · ·Okay.· And witness 4 observed Susan with her    25·   Kulakowski.


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·1·   Q· · · ·So would witness 3 be Jerry Harville?           ·1·   A· · · ·The best I recall.· I really don't remember
·2·   A· · · ·I believe witness 3 is Jerry Harville.          ·2·   who all was involved.· I just don't remember.
·3·   Q· · · ·Okay.                                           ·3·   Q· · · ·Okay.· Do you recall if you received any
·4·   A· · · ·Yes.· Jerry Harville, witness 3.                ·4·   e-mails about -- that security was going to be
·5·   Q· · · ·And I guess -- you said Eden was 7.             ·5·   posted out at the plant or any new procedures or
·6·   · · · · And the notes that you have written on here,    ·6·   anything like that?
·7·   these were the notes that you'd obtained as of          ·7·   A· · · ·I don't remember.
·8·   8/16/2016.· Is that fair to say?                        ·8·   Q· · · ·Have you experienced that before, where
·9·   A· · · ·Yes.                                            ·9·   y'all have had to terminate an employee and post
10·   Q· · · ·And these were based on notes that you had      10·   security at a plant?
11·   taken from talking to these people?                     11·   A· · · ·Yes.
12·   A· · · ·Yes.                                            12·   Q· · · ·What other times have y'all done that?
13·   Q· · · ·And after getting this report, at any point     13·   A· · · ·We have done it one other time in Gallatin.
14·   in time -- before Mr. Whited's termination, at any      14·   Q· · · ·Who was the employee that y'all had
15·   point in time, did y'all put him on suspension while    15·   terminated?
16·   you were investigating these things or place him out    16·   A· · · ·J.R. Sanders.
17·   of the workplace?                                       17·   Q· · · ·Why did y'all do it when J.R. Sanders was
18·   A· · · ·I don't recall.                                 18·   terminated?
19·   Q· · · ·Well, that should be documented somewhere if    19·   A· · · ·Because of the allegations.
20·   y'all had suspended him pending investigation,          20·   Q· · · ·What was the allegation?
21·   right?                                                  21·   A· · · ·I don't recall specifically other than it
22·   A· · · ·Yes.· I don't recall.                           22·   obviously had something to do with -- it was
23·   Q· · · ·You just don't recall if he was suspended       23·   violence.
24·   pending --                                              24·   Q· · · ·Okay.· So, he had either committed violence
25·   A· · · ·I don't recall, correct.                        25·   or engaged in threats of violence?
                                                    3DJH                                                       3DJH
·1·   Q· · · ·And while you're investigating, employees       ·1·   A· · · ·I don't know.· Keith Hall and Al Hasbrouck,
·2·   indicated they were fearful of Mr. Whited, right?       ·2·   the plant manager and general manager, had concerns.
·3·   A· · · ·Yes.                                            ·3·   I don't remember his specific termination reason,
·4·   Q· · · ·What were they fearful of, that you can         ·4·   but they had concerns.
·5·   recall?                                                 ·5·   Q· · · ·Okay.· Do y'all have a particular custom or
·6·   A· · · ·Being terminated, I recall that.· And one       ·6·   policy that y'all would follow when you decide that
·7·   indicated he thought he might get him.                  ·7·   you need to post security out at a facility after
·8·   Q· · · ·Was that Mr. Kulakowski?                        ·8·   the termination of an employee?
·9·   A· · · ·Yes.                                            ·9·   A· · · ·I don't understand the question.
10·   Q· · · ·So, he was afraid of some sort of physical      10·   Q· · · ·Well, do y'all have a specific policy in
11·   violence or harm?                                       11·   place that if certain types of allegations have been
12·   A· · · ·Yes.· He made mention.                          12·   made, we're going to post security or anything like
13·   Q· · · ·After you terminated -- after y'all had made    13·   that?· Or is it just a case-by-case basis?
14·   the decision to terminate Mr. Whited, is that why       14·   A· · · ·There may be something in our safety policy,
15·   y'all brought security out to the plant?                15·   but I don't -- I don't recall at this time.
16·   A· · · ·We did bring security, yes.                     16·   Q· · · ·Okay.· Would you say that it's more an
17·   Q· · · ·Why did you do that?                            17·   unusual thing for y'all to post security out at a
18·   A· · · ·I wasn't on that call.                          18·   facility after an employee's termination?
19·   Q· · · ·Okay.· How long was security posted out at      19·   A· · · ·I wouldn't consider it unusual, no.
20·   the plant?                                              20·   Q· · · ·So y'all do that frequently?
21·   A· · · ·I don't remember.                               21·   A· · · ·I didn't say that.· I just don't feel that
22·   Q· · · ·Who would know about that?                      22·   it's unusual.
23·   A· · · ·Melinda McGraw.                                 23·   Q· · · ·Why do you not feel it's unusual?
24·   Q· · · ·As far as you know, she was the one involved    24·   A· · · ·Because in this day and time, if we need to,
25·   in that decision?                                       25·   we will.· But I don't think it's unusual.


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·1·   Q· · · ·Well, you've only had it happen twice.          ·1·   · · · · · · ·(Marked Exhibit No. 17.)
·2·   A· · · ·That I can recall.                              ·2·   BY MS. COLLINS:
·3·   Q· · · ·That you can recall, okay.                      ·3·   Q· · · ·Do you recognize this document?
·4·   A· · · ·And that's just the facilities that I am        ·4·   A· · · ·Yes.
·5·   responsible for.                                        ·5·   Q· · · ·Who was this that you had talked to?· "I
·6·   Q· · · ·Sure.                                           ·6·   just got off the phone with J.C."
·7·   A· · · ·I remembered another time.                      ·7·   A· · · ·J.C. Cox.
·8·   Q· · · ·Okay.· You said you remembered another time.    ·8·   Q· · · ·Okay.· And this e-mail that you sent on
·9·   Tell me about that.                                     ·9·   August 18th, that was the day that you talked with
10·   A· · · ·At Chattanooga, we had security come out.       10·   Mr. Cox?
11·   Q· · · ·Okay.· What was the context of that             11·   A· · · ·Yes.
12·   situation?                                              12·   Q· · · ·Is this the only time that you talked with
13·   A· · · ·It was a termination of an employee.            13·   Mr. Cox with respect to the Whited investigation?
14·   Q· · · ·Were they -- was it a violent -- concerns       14·   A· · · ·Yes.
15·   about violence with them, too?                          15·   Q· · · ·Now, you noted in this e-mail -- first, were
16·   · · · · · · ·MS. DOHNER SMITH:· Objection.              16·   these the only notes that you created from this
17·   · · · · · · ·THE WITNESS:· I don't recall, but I        17·   conversation?
18·   remember we did have security at that facility at       18·   A· · · ·I don't recall.
19·   one time on a termination.                              19·   Q· · · ·Okay.· If you had created other notes, would
20·   BY MS. COLLINS:                                         20·   you have put them in your file?
21·   Q· · · ·Was it -- do you recall if it was a             21·   A· · · ·Yes.
22·   high-level employee?                                    22·   Q· · · ·Okay.· And he mentioned -- or you recorded
23·   A· · · ·No.· I recall that it was an hourly             23·   in this e-mail that he had said he has seen
24·   employee.                                               24·   horseplay, but nothing that would be considered
25·   Q· · · ·Okay.· And J.R. Sanders, he was an hourly       25·   inappropriate.
                                                    3DJH                                                       3DJH
·1·   employee as well, right?                                ·1·   · · · · Do you recall any specifics as to what sort
·2·   A· · · ·Yes.                                            ·2·   of horseplay he had seen?
·3·   Q· · · ·So it's not something y'all just do if it's     ·3·   A· · · ·I don't recall.
·4·   a general manager, right?                               ·4·   Q· · · ·Did you ask him who had engaged in
·5·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·5·   horseplay?
·6·   · · · · · · ·THE WITNESS:· Rephrase.· Or please         ·6·   A· · · ·I don't recall.
·7·   re-ask the question.                                    ·7·   Q· · · ·Would there be anything else you could look
·8·   BY MS. COLLINS:                                         ·8·   at to help refresh your recollection as to what you
·9·   Q· · · ·Having security brought out to a plant after    ·9·   talked about with J.C. Cox?
10·   a termination, that's not something y'all do as a       10·   A· · · ·Maybe.
11·   matter of course or just because you've let go a        11·   Q· · · ·What?
12·   plant manager, right, or general manager?               12·   A· · · ·The investigation notes.
13·   A· · · ·Correct.                                        13·   Q· · · ·The ones we just went through?· Well, the
14·   Q· · · ·It depends on the situation.                    14·   ones that came after this?
15·   A· · · ·Yes.                                            15·   A· · · ·Yes.
16·   Q· · · ·Okay.· Or I guess I should say, it depends      16·   Q· · · ·Okay.· All right.· And when you have the
17·   on the employee and the context of that situation.      17·   initials in this report, "he has no proof nor seen
18·   A· · · ·Not necessarily the employee.· The              18·   anything between S.H. and T.W...." is that Susan
19·   situation.                                              19·   Hart and Tommy Whited?
20·   Q· · · ·Right.· What happened with that employee,       20·   A· · · ·Yes.
21·   right?                                                  21·   Q· · · ·And at the bottom of this e-mail from
22·   A· · · ·Yes.                                            22·   August 18, 2016, Ms. McGraw says, "I think you may
23·   Q· · · ·Okay.                                           23·   have to bite the bullet and go investigate because
24·   · · · · · · ·MS. COLLINS:· Let's mark the next          24·   who knows if they'll call you back."
25·   document as Exhibit 17.                                 25·   · · · · So, up to this point, had you just made


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·1·   phone calls about -- with employees about what was      ·1·   BY MS. COLLINS:
·2·   going on or had you --                                  ·2·   Q· · · ·Do you know if you would have provided him
·3·   A· · · ·No.                                             ·3·   examples of what you meant by horseplay?
·4·   Q· · · ·Okay.· You'd gone out to the plant?             ·4·   A· · · ·It's possible.
·5·   A· · · ·Yes.                                            ·5·   Q· · · ·But you just don't know?
·6·   Q· · · ·And was it to talk with the people we've        ·6·   A· · · ·I don't recall.
·7·   already talked about, Lana Potts and Jerry Harville     ·7·   Q· · · ·All right.· Did you record any of these
·8·   and those six?                                          ·8·   conversations, audio record them?
·9·   A· · · ·Repeat the question.                            ·9·   A· · · ·No.
10·   Q· · · ·Before August 18th, had you already gone        10·   Q· · · ·And then it says, "When asked did you
11·   out and talked -- had you already gone out to the       11·   witness horseplay that resulted in an employee
12·   plant and met with some of the employees?               12·   ending up on the ground, he said no..."
13·   A· · · ·Yes.                                            13·   · · · · Was that -- did you give him any specifics
14·   Q· · · ·Okay.                                           14·   about that or did you just say exactly what you have
15·   · · · · · · ·MS. COLLINS:· All right.· Let's mark       15·   recorded there?
16·   the next document as Exhibit 18.                        16·   A· · · ·I would have asked exactly what is right
17·   · · · · · · ·(Marked Exhibit No. 18.)                   17·   there.
18·   BY MS. COLLINS:                                         18·   Q· · · ·Okay.· All right.· August 18th, was that
19·   Q· · · ·Are these your other notes that you             19·   the day that you spoke with Terry Stafford?
20·   mentioned a minute ago?                                 20·   A· · · ·Yes.
21·   A· · · ·These are additional notes, yes.                21·   Q· · · ·About how long was your conversation with
22·   Q· · · ·Okay.· And did you create these notes as you    22·   Terry Stafford?
23·   were talking to the people or after you talked to       23·   A· · · ·His would have -- brief.· Maybe 10, 15
24·   the people?                                             24·   minutes max.
25·   A· · · ·I don't recall.                                 25·   Q· · · ·Doesn't look like he had a lot to say other
                                                    3DJH                                                       3DJH
·1·   Q· · · ·All right.· The -- for each name, you have a    ·1·   than naw.· Is that fair to say?
·2·   date that looks like it was longer ago.· Is that        ·2·   A· · · ·That's fair to say.
·3·   when they started working for WestRock or RockTenn?     ·3·   Q· · · ·Did it seem like he didn't want to get
·4·   Like by Donnie Taylor, it says 8/8/94.                  ·4·   involved?
·5·   A· · · ·I can only assume.· That appears to being       ·5·   A· · · ·I don't know.
·6·   their hire date.                                        ·6·   Q· · · ·Okay.· Did you ask him specifically if he'd
·7·   Q· · · ·But these are your notes, right?                ·7·   witnessed Tommy Whited kicking Michael Kulakowski in
·8·   A· · · ·These are my notes.                             ·8·   the groin?
·9·   Q· · · ·And you created this document, right?           ·9·   A· · · ·I did not use Kulakowski's name.
10·   A· · · ·Yes.                                            10·   Q· · · ·Did you ask him specifically if he had seen
11·   Q· · · ·So, when you talked with J.C. Cox, you said,    11·   Tommy Whited kick another employee in the groin?
12·   "When asked about inappropriate horseplay, he said      12·   A· · · ·No.
13·   they cut up but nothing physical."                      13·   Q· · · ·Okay.· And Donnie Taylor, when you met with
14·   · · · · Did you get any specifics from him by what      14·   him, about how long did you talk with him?
15·   he meant by horseplay or how they cut up?               15·   A· · · ·I believe this phone conversation was
16·   A· · · ·Repeat the question, please.                    16·   possibly 30 minutes.
17·   · · · · · · ·(The requested question was read back      17·   Q· · · ·Okay.· Were all three of these phone
18·   by the court reporter as follows:                       18·   conversations?
19·   · · · · · · ·"Question:· So, when you talked with       19·   A· · · ·Yes.
20·   J.C. Cox, you said, 'When asked about inappropriate     20·   Q· · · ·And he said that he had witnessed
21·   horseplay, he said they cut up but nothing              21·   inappropriate behavior in the form of Tommy kicking
22·   physical.'                                              22·   W4, an employee, W4.· And that would be Michael
23·   · · · · · · ·Did you get any specifics from him by      23·   Kulakowski, right?· Or was W4 Jerry Harville?
24·   what he meant by horseplay or how they cut up?")        24·   · · · · · · ·MS. DOHNER SMITH:· I think W4 was
25·   · · · · · · ·THE WITNESS:· I don't recall.              25·   Mr. Kulakowski.


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·1·   BY MS. COLLINS:                                         ·1·   right?
·2·   Q· · · ·Yeah.· W4 was Kulakowski, right?                ·2·   A· · · ·At that time, yes.
·3·   A· · · ·Yes.                                            ·3·   Q· · · ·And her boss at that time was?
·4·   Q· · · ·So he specifically identified Michael           ·4·   A· · · ·Joy Jones.
·5·   Kulakowski?                                             ·5·   Q· · · ·And who would legal have been?
·6·   A· · · ·Yes.                                            ·6·   A· · · ·Stacey Moulton.
·7·   Q· · · ·All right.· And he also stated that he had      ·7·   Q· · · ·Is Ms. Moulton no longer with the company?
·8·   witnessed the kicking in the groin area on more than    ·8·   A· · · ·Correct.
·9·   one occasion?                                           ·9·   Q· · · ·And on the last page of the document, the
10·   A· · · ·Yes.                                            10·   Summary of Findings/Conclusion, were these all the
11·   Q· · · ·That's a violation of WestRock policy,          11·   policies that he had violated?
12·   right, the kicking in the groin?                        12·   A· · · ·Conflict of interest was not confirmed.
13·   A· · · ·Yes.                                            13·   Q· · · ·Okay.· But the others were?
14·   Q· · · ·Did you talk with him again after this phone    14·   A· · · ·Yes.
15·   conversation?· Did you meet with him?                   15·   Q· · · ·Okay.· And where it says, Workplace
16·   A· · · ·Yes.                                            16·   Violence/Horseplay, was that with respect to him
17·   Q· · · ·Out at the sheet plant?                         17·   kicking and hitting other male employees in the
18·   A· · · ·No.                                             18·   groin?
19·   Q· · · ·Where did you meet with him?                    19·   A· · · ·Yes.
20·   A· · · ·Fulfillment.                                    20·   Q· · · ·Why wasn't that a violation of -- why didn't
21·   Q· · · ·Okay.· Was that before Mr. Whited was fired?    21·   y'all note that as a violation of the sexual
22·   A· · · ·Yes.                                            22·   harassment policy?
23·   Q· · · ·Other than Lana Potts, do you recall if you     23·   · · · · · · ·MS. DOHNER SMITH:· Objection.
24·   got a signed or written statement from any of these     24·   · · · · · · ·THE WITNESS:· I don't know.
25·   other employees?                                        25
                                                    3DJH                                                       3DJH
·1·   A· · · ·I don't recall, no.                             ·1·   BY MS. COLLINS:
·2·   Q· · · ·Okay.· And you didn't have any handwritten      ·2·   Q· · · ·Who made the decision to put that Workplace
·3·   notes that you base this off of, did you?               ·3·   Violence/Horseplay?
·4·   A· · · ·I don't recall.                                 ·4·   A· · · ·That note?
·5·   Q· · · ·Okay.                                           ·5·   Q· · · ·Yes.
·6·   · · · · · · ·MS. COLLINS:· Let's mark the next          ·6·   A· · · ·That's my note.· I put that in there.
·7·   document as Exhibit 19.                                 ·7·   Q· · · ·Okay.· And that was confirmed, that he had
·8·   · · · · · · ·(Marked Exhibit No. 19.)                   ·8·   violated that policy, right?
·9·   BY MS. COLLINS:                                         ·9·   A· · · ·Yes.
10·   Q· · · ·Have you seen this document before?             10·   Q· · · ·And what would be your definition, or what
11·   A· · · ·Yes.                                            11·   did you consider horseplay to be?
12·   Q· · · ·Okay.· And was this the final investigation     12·   A· · · ·My definition of horseplay?
13·   summary report that you did?                            13·   Q· · · ·Yeah.· When you listed Workplace
14·   A· · · ·It appears to be.                               14·   Violence/Horseplay, what did you consider to be
15·   Q· · · ·And so this one would have incorporated         15·   horseplay?
16·   additional information that you had obtained since      16·   A· · · ·Goofing off.
17·   you did the initial draft, right?                       17·   Q· · · ·What does that consist of?
18·   A· · · ·Yes.                                            18·   A· · · ·Could consist of a lot of things, I guess.
19·   Q· · · ·Who did you send this report to?                19·   Q· · · ·Well, with respect to what you wrote here,
20·   A· · · ·I don't remember.                               20·   Workplace Violence/Horseplay, what horseplay?
21·   Q· · · ·Who would you typically send a report like      21·   A· · · ·Punching in the shoulder or, you know,
22·   this to?                                                22·   there's lots of things that horseplay could be.
23·   A· · · ·It could have been my boss.· It could have      23·   Q· · · ·I'm talking about specifically what you
24·   been her boss.· It could have been legal.               24·   reference here that was a confirmed violation of
25·   Q· · · ·Okay.· And your boss is Melinda McGraw,         25·   company policy, and you have horseplay specifically


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·1·   listed.                                                 ·1·   Q· · · ·These are notes from your conversation with
·2·   · · · · So specifically with respect to Tommy           ·2·   him?
·3·   Whited, what horseplay constituted a policy             ·3·   A· · · ·These are notes on a conversation where
·4·   violation?· What conduct did he engage in that          ·4·   Melinda McGraw and Tom Pedine were present.
·5·   constituted horseplay?                                  ·5·   Q· · · ·Did you talk with him or did they primarily
·6·   A· · · ·Kicking an employee out of their chair          ·6·   talk to him?
·7·   constitutes horseplay.· Private areas, knocking a       ·7·   A· · · ·I don't remember, but we were all three
·8·   bump cap off an employee's head.                        ·8·   together in the same room.
·9·   Q· · · ·When you said private areas, what do you        ·9·   Q· · · ·Where were y'all?
10·   mean?                                                   10·   A· · · ·Fulfillment.
11·   A· · · ·The groin area.                                 11·   Q· · · ·Did you take any other notes besides these?
12·   Q· · · ·Okay.· What else?                               12·   When you were meeting with Michael Kulakowski on
13·   A· · · ·That's all I recall from this.                  13·   August 26 at 3:10 p.m.?
14·   Q· · · ·Okay.                                           14·   A· · · ·No.· These would be the notes that I took.
15·   · · · · · · ·MS. COLLINS:· Let's mark the next          15·   Q· · · ·Did you take any handwritten notes?
16·   document as Exhibit 20.                                 16·   A· · · ·No.
17·   · · · · · · ·(Marked Exhibit No. 20.)                   17·   Q· · · ·Did Mr. Pedine or Melinda McGraw take any
18·   BY MS. COLLINS:                                         18·   notes?
19·   Q· · · ·Have you seen this document before?             19·   A· · · ·I don't remember.
20·   A· · · ·Yes.                                            20·   Q· · · ·So these are all the -- everything that you
21·   Q· · · ·Is that your company e-mail address?            21·   recorded here were things that Mr. Kulakowski said
22·   A· · · ·Yes.                                            22·   during the meeting, right?
23·   Q· · · ·Okay.· So, it looks like on August 26, you      23·   A· · · ·Yes.
24·   told Ms. McGraw that -- you said you added kicked.      24·   Q· · · ·Do you recall Mr. Pedine asking him why
25·   What did you add kicked to?                             25·   didn't he just quit if it was that bad, or something
                                                    3DJH                                                       3DJH
·1·   A· · · ·The list of questions she was going to ask      ·1·   to that effect?
·2·   Tommy.                                                  ·2·   A· · · ·Something to that effect, yes.
·3·   Q· · · ·Okay.· Were you present when she met with       ·3·   Q· · · ·Tell me what you recall.
·4·   him to question him?                                    ·4·   A· · · ·I don't recall the exact words, but
·5·   A· · · ·Yes.                                            ·5·   something of the nature of if it was this bad, you
·6·   Q· · · ·Who else was present?                           ·6·   know, why would you not have quit?· And again, I
·7·   A· · · ·Tom Pedine.                                     ·7·   don't recall -- that's not verbatim.
·8·   Q· · · ·So, on Friday, August 26, was that the date     ·8·   Q· · · ·Sure.· Do you recall Mr. Kulakowski's
·9·   that you met with Tommy Whited?                         ·9·   response?
10·   A· · · ·Yes.                                            10·   A· · · ·Only if it's in this.
11·   Q· · · ·Okay.                                           11·   · · · · (Reviewing document.)
12·   · · · · · · ·MS. COLLINS:· Let's mark the next one      12·   · · · · It doesn't appear.
13·   as Exhibit 21.                                          13·   Q· · · ·That you recorded his response,
14·   · · · · · · ·(Marked Exhibit No. 21.)                   14·   Mr. Kulakowski's response?
15·   BY MS. COLLINS:                                         15·   A· · · ·Not at first glance.
16·   Q· · · ·Have you seen this document before that's       16·   Q· · · ·Okay.· And you didn't record that Mr. Pedine
17·   been marked as Exhibit Number 21?                       17·   asked him that question, right?· You just recall
18·   A· · · ·Yes.                                            18·   that he did ask him something to that effect?
19·   Q· · · ·And are these notes that you created?           19·   A· · · ·Correct.
20·   A· · · ·Yes.                                            20·   Q· · · ·Okay.· Do you think that was an appropriate
21·   Q· · · ·Let's start at the top.· On August 26, 2016,    21·   thing to be asked?
22·   it says "M.K."· Is that Michael Kulakowski?             22·   · · · · · · ·MS. DOHNER SMITH:· Objection.
23·   A· · · ·Yes.                                            23·   · · · · · · ·THE WITNESS:· No.
24·   Q· · · ·And did you meet with him at 3:10 p.m.?         24·   BY MS. COLLINS:
25·   A· · · ·Yes.                                            25·   Q· · · ·Okay.· Why not?


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·1·   A· · · ·Well, I can't speak for Tom, but he was         ·1·   more about that?
·2·   asking -- he was trying to figure out what was going    ·2·   A· · · ·I don't recall.
·3·   on with Kulakowski and his thought process.· But I      ·3·   Q· · · ·But did you get the impression from
·4·   can't speak for Tom.                                    ·4·   Mr. Taylor that it wasn't funny, what Mr. Whited was
·5·   Q· · · ·You would agree with me that an employee who    ·5·   doing to these people, when he would hit them and
·6·   is being harassed or kicked by their boss shouldn't     ·6·   kick them?
·7·   have to quit to get away from it, right?                ·7·   A· · · ·Yes.
·8·   A· · · ·I agree.                                        ·8·   Q· · · ·And he also, Mr. Taylor also said that -- if
·9·   Q· · · ·Okay.· And you also have that -- going down     ·9·   you go to the next page, 233, that he had also been
10·   the page, you have Donnie Taylor at 4:10 p.m.           10·   slapped in the head.
11·   A· · · ·Yes.                                            11·   A· · · ·Yes.
12·   Q· · · ·So was that when y'all -- did all three of      12·   Q· · · ·And it says, "He slapped T.W. in leg," and
13·   y'all meet and talk with Donnie Taylor as well, or      13·   "slapped him in nuts."
14·   just you?                                               14·   · · · · Does that mean that Tommy Whited had also
15·   A· · · ·I believe the three of us were in the room.     15·   hit him in the testicles?
16·   Someone could have left.· I don't recall                16·   A· · · ·Repeat the question, please.
17·   specifically.· But it was the same day.                 17·   Q· · · ·Had he also complained that Tommy Whited had
18·   Q· · · ·Now, did you find Mr. Taylor to be credible?    18·   hit him in the testicles?
19·   A· · · ·Yes.                                            19·   A· · · ·Yes.
20·   Q· · · ·Did you find Mr. Kulakowski to be credible      20·   Q· · · ·Is he still working there?
21·   when y'all met with him?                                21·   A· · · ·Donnie?
22·   A· · · ·Yes.                                            22·   Q· · · ·Yes, Donnie.
23·   Q· · · ·And did you record -- is this the general       23·   A· · · ·Yes.
24·   substance of the things that Mr. Taylor told you on     24·   · · · · · · ·MS. COLLINS:· The next document, let's
25·   that day?                                               25·   mark this as Exhibit 22.
                                                    3DJH                                                       3DJH
·1·   A· · · ·Yes.                                            ·1·   · · · · · · ·(Marked Exhibit No. 22.)
·2·   Q· · · ·And this was also on August 26th, correct?      ·2·   BY MS. COLLINS:
·3·   A· · · ·Yes.                                            ·3·   Q· · · ·Okay.· Do you recognize this document?
·4·   Q· · · ·And this was an in-person meeting, right?       ·4·   A· · · ·Yes.
·5·   A· · · ·Yes.                                            ·5·   Q· · · ·Did you create this document?
·6·   Q· · · ·And he had verified that he had seen            ·6·   A· · · ·Yes.
·7·   Mr. Kulakowski get slapped on the back of the head,     ·7·   Q· · · ·Did you have any help creating this or were
·8·   slapped in the nuts, kicked in the nuts, right?         ·8·   these just contemporaneous notes you made during
·9·   A· · · ·Yes.                                            ·9·   your meeting with Tommy Whited?
10·   Q· · · ·And he also said that he'd never heard          10·   A· · · ·I'm not sure I understand.
11·   Mr. Whited apologize to Mr. Kulakowski for doing        11·   Q· · · ·Are these the notes that you took at the
12·   those things, right?                                    12·   time that you met with Tommy Whited?
13·   A· · · ·Correct.                                        13·   A· · · ·Yes.
14·   Q· · · ·Okay.· And he also stated that "I have heard    14·   Q· · · ·Was Mr. Pedine and your supervisor, Melinda
15·   Tommy say, I ought to just fire him," referring to      15·   McGraw, also present?
16·   Michael Kulakowski, and he "puts a lot of pressure      16·   A· · · ·Yes.
17·   and jobs on Kuli."                                      17·   Q· · · ·And this meeting, did it take place at the
18·   A· · · ·Yes.                                            18·   fulfillment center?
19·   Q· · · ·Was there anything else about that that you     19·   A· · · ·Yes.
20·   can recall him saying?                                  20·   Q· · · ·Okay.· So it looks like there's questions
21·   A· · · ·I don't recall.                                 21·   and then you recorded answers that he gave, right?
22·   Q· · · ·And he said that he messes with a lot of        22·   A· · · ·Yes.
23·   people, but further on down the line he is serious      23·   Q· · · ·Did you record this meeting with an audio?
24·   and isn't horseplay anymore.                            24·   A· · · ·No.
25·   · · · · What did that mean?· Or did y'all ask him       25·   Q· · · ·If you could turn to the second page,


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·1·   Page 235 down at the bottom, did you ask the            ·1·   BY MS. COLLINS:
·2·   questions or did one of the others ask the              ·2·   Q· · · ·What does this mean?
·3·   questions?                                              ·3·   A· · · ·He gave an answer.
·4·   A· · · ·I did not ask the questions.                    ·4·   Q· · · ·"The action of going to do it, but they
·5·   Q· · · ·Who asked the questions?                        ·5·   don't do it, so they act like it, walking up to
·6·   A· · · ·Melinda McGraw.                                 ·6·   someone and acting like it but not, and it is all
·7·   Q· · · ·It looks like Ms. McGraw asked him, "Have       ·7·   understood."
·8·   you participated in horseplay with an employee?"        ·8·   · · · · What does that mean?
·9·   A· · · ·Yes.                                            ·9·   A· · · ·I remember him saying, acting like they were
10·   Q· · · ·And he said, "I have not participated in        10·   going to do something to someone, but not physically
11·   horseplay under the definition that I gave."            11·   touching someone.
12·   · · · · What does that mean?· Did she define            12·   Q· · · ·Okay.· So he did not admit to hitting other
13·   horseplay for him?                                      13·   employees in the groin?
14·   A· · · ·I don't recall that she did that.               14·   A· · · ·He did not.
15·   Q· · · ·What does that mean, "I have not participate    15·   Q· · · ·And he didn't recall hitting a hat off of
16·   in horseplay under the definition that I gave"?         16·   another employee?
17·   A· · · ·I don't know.                                   17·   A· · · ·Not that he recalls.
18·   Q· · · ·The question was also, "Have you ever hit or    18·   Q· · · ·And he denied kicking a chair out from under
19·   grabbed an employee," and he admitted that he had       19·   an employee, right?
20·   but that -- it looks like he just smacked people on     20·   A· · · ·He denied kicking the chair out.
21·   the backs or on the shoulder?                           21·   Q· · · ·I think you said you didn't believe some of
22·   A· · · ·On the shoulder, yes.                           22·   his responses.· Is that right?
23·   Q· · · ·Do you recall if y'all specifically asked       23·   · · · · · · ·MS. DOHNER SMITH:· Objection.
24·   him if he had hit people in the groin?                  24·   · · · · · · ·THE WITNESS:· You asked if I found him
25·   A· · · ·I don't recall.                                 25·   credible.
                                                    3DJH                                                       3DJH
·1·   Q· · · ·Okay.· Actually, it's on the next page.         ·1·   BY MS. COLLINS:
·2·   Y'all asked him if he had ever hit an employee with     ·2·   Q· · · ·And you said no, correct?
·3·   a broom, and he didn't recall that, right?· He          ·3·   A· · · ·Yes.
·4·   didn't recall hitting anybody with a broom?· It         ·4·   Q· · · ·And did you believe some of his responses?
·5·   starts at the bottom of 235 and goes to the top of      ·5·   A· · · ·I don't remember.
·6·   236.                                                    ·6·   Q· · · ·Do you believe -- did you believe him when
·7·   A· · · ·Okay.· Please repeat the question.              ·7·   he said he hadn't done some of those things?
·8·   Q· · · ·So y'all asked him if he had ever hit an        ·8·   A· · · ·I don't remember specifically.
·9·   employee, it says in the ass with the broom, and he     ·9·   Q· · · ·What about sitting here today?
10·   denied recalling doing so, right?                       10·   A· · · ·I don't understand.
11·   A· · · ·He doesn't recall.                              11·   Q· · · ·Do you believe -- where he denied doing some
12·   Q· · · ·Did you find him to be credible when y'all      12·   of these things, do you believe him?
13·   interviewed him?· Did you find him to be honest?        13·   A· · · ·I do not -- I don't know if I believe.
14·   A· · · ·In the investigation?                           14·   Q· · · ·Why not?
15·   Q· · · ·Yes, Mr. Whited.                                15·   A· · · ·Because it's what I could prove, not what I
16·   A· · · ·No.                                             16·   believe.
17·   Q· · · ·Okay.· And it looks like -- I just asked you    17·   Q· · · ·Okay.· Multiple other employees disputed the
18·   a second ago about the groin question.· You             18·   testimony that -- or the statements that he gave,
19·   recorded, "How about in the groin/private area, have    19·   right?
20·   you ever hit or kicked an employee there"?              20·   · · · · · · ·MS. DOHNER SMITH:· Objection.
21·   A· · · ·Okay.                                           21·   BY MS. COLLINS:
22·   Q· · · ·And it looks like he gave y'all kind of a       22·   Q· · · ·About hitting in the groin?
23·   vague answer.· Is that fair to say?                     23·   A· · · ·Rephrase the question.
24·   · · · · · · ·MS. DOHNER SMITH:· Objection.              24·   Q· · · ·Multiple other employees disputed his
25·   · · · · · · ·THE WITNESS:· No.                          25·   testimony about hitting in the groin, correct?


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·1·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·1·   A· · · ·Myself, Melinda McGraw, Jeb Bell, and Tom
·2·   · · · · · · ·THE WITNESS:· Yes.                         ·2·   Pedine.
·3·   BY MS. COLLINS:                                         ·3·   Q· · · ·Okay.
·4·   Q· · · ·And it looks like y'all interviewed Susan       ·4·   A· · · ·And Tommy Whited.
·5·   after that, right, on Page 237?                         ·5·   Q· · · ·Okay.· Who filled -- who typed up this
·6·   A· · · ·Yes.                                            ·6·   document?· Did you type this up?
·7·   Q· · · ·Do you know if y'all asked her if she had       ·7·   A· · · ·I did not.
·8·   ever seen him, Tommy Whited, hit or kick employees      ·8·   Q· · · ·Okay.· And it looks like "involuntary
·9·   in the groin?· I didn't see it on here.                 ·9·   separation" was written on there.· Whose initials
10·   A· · · ·I don't recall.· It does not appear that        10·   are those?
11·   we --                                                   11·   A· · · ·Melinda McGraw.
12·   · · · · · · ·(Overlapping speech.)                      12·   Q· · · ·What did it say before that?
13·   Q· · · ·Did you find her to be credible?                13·   A· · · ·I have no idea.
14·   A· · · ·I don't recall.                                 14·   Q· · · ·It looks like at the top the reason for
15·   Q· · · ·You don't recall if you thought that she was    15·   separation, the quit box was initially checked, and
16·   credible?                                               16·   then the discharge box was checked and circled.
17·   A· · · ·I don't.                                        17·   · · · · Do you know if he was initially offered the
18·   · · · · · · ·MS. COLLINS:· Let's mark the next          18·   opportunity to resign?
19·   document as Exhibit 23.                                 19·   A· · · ·Yes.
20·   · · · · · · ·(Marked Exhibit No. 23.)                   20·   Q· · · ·Why was that?
21·   BY MS. COLLINS:                                         21·   A· · · ·I don't know.
22·   Q· · · ·Have you seen this document before?             22·   Q· · · ·Was he offered a separation package or a
23·   A· · · ·I believe so.                                   23·   severance agreement?
24·   Q· · · ·Okay.· And after -- well, before y'all          24·   A· · · ·Not to my knowledge.
25·   terminated Mr. Whited, it looks like he had             25·   Q· · · ·Did he decline to resign voluntarily?
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·1·   communicated to Mr. Pedine -- or Ms. McGraw that he     ·1·   A· · · ·Per this document, it appears that way.
·2·   wanted to transfer Mr. Kulakowski.                      ·2·   Q· · · ·Okay.· Do you know why he was given that
·3·   A· · · ·I don't remember the specifics, but yes, I      ·3·   choice?
·4·   believe they had a conversation.                        ·4·   A· · · ·I do not.
·5·   Q· · · ·Okay.· And that was -- that attempt was         ·5·   Q· · · ·Were you involved in any discussions about
·6·   blocked, to transfer him to another -- to transfer      ·6·   giving him the choice?
·7·   Mr. Kulakowski to another position, correct?            ·7·   A· · · ·I was not.
·8·   A· · · ·Correct, yes.                                   ·8·   Q· · · ·Who would be involved in that?
·9·   Q· · · ·Why was that?· Why did y'all block that         ·9·   A· · · ·I can only assume Melinda McGraw, maybe Tom,
10·   move?                                                   10·   maybe Jeb Bell.· I don't know.
11·   A· · · ·I wasn't involved in that exact discussion      11·   · · · · · · ·MS. COLLINS:· Okay.· Let's mark the
12·   to recall exactly.                                      12·   next one as Exhibit 25.
13·   Q· · · ·Did you have an understanding as to why they    13·   · · · · · · ·(Marked Exhibit No. 25.)
14·   blocked that?                                           14·   BY MS. COLLINS:
15·   A· · · ·I don't remember.                               15·   Q· · · ·Have you seen this document before?
16·   · · · · · · ·MS. COLLINS:· Let's mark the next          16·   A· · · ·Yes.
17·   document as Exhibit 24.                                 17·   Q· · · ·Okay.· I'm going to start on the seventh
18·   · · · · · · ·(Marked Exhibit No. 24.)                   18·   page, which is the earliest in time, the last page.
19·   BY MS. COLLINS:                                         19·   Was this the Speak Up! e-mail that you were talking
20·   Q· · · ·Have you seen this document before?             20·   about --
21·   A· · · ·Yes, ma'am.                                     21·   A· · · ·Yes.
22·   Q· · · ·Were you present the day Tommy Whited was       22·   Q· · · ·-- that started everything?
23·   terminated?                                             23·   A· · · ·Yes.
24·   A· · · ·Yes.                                            24·   Q· · · ·Okay.· And if you could just -- we're going
25·   Q· · · ·Okay.· Who all was present?                     25·   to go through them backwards to forwards.


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·1·   A· · · ·All right.                                      ·1·   A· · · ·I don't recall.· I would need to look at
·2·   Q· · · ·So, the first time you got this complaint,      ·2·   notes.
·3·   is it fair to say you got it on August 11th, or do      ·3·   Q· · · ·What notes would you need to look at?
·4·   you think you got it before that?                       ·4·   A· · · ·One of the previous ones that we had, that
·5·   A· · · ·I'm not sure.                                   ·5·   had the -- there was one that had four people that I
·6·   Q· · · ·Okay.· Now, if you could turn to the next       ·6·   talked to via phone.
·7·   page, 201 down at the bottom, it looks like on          ·7·   Q· · · ·Okay.· It wasn't one of the ones we've
·8·   August 11th, you said you were going out there          ·8·   already gone over?
·9·   tomorrow.· And that was the Gallatin plant, right?      ·9·   A· · · ·Yes.
10·   A· · · ·Yes.                                            10·   Q· · · ·It was one of the ones we've already gone
11·   Q· · · ·And you said, "She didn't want to talk on       11·   over?
12·   the phone, as it was not private, but she was loud      12·   A· · · ·Yes.
13·   when she said, 'escaping from a toxic environment       13·   Q· · · ·Was it Exhibit Number 18 where you had
14·   and had a better job opportunity...'"                   14·   "Tommy Davis, not able to touch base with him"?· Was
15·   · · · · Was that Lana?                                  15·   it him?
16·   A· · · ·No, ma'am.                                      16·   A· · · ·I can't say with certainty, but based on
17·   Q· · · ·Who was that?                                   17·   this e-mail, I never spoke with him.· He never
18·   A· · · ·Johanna Crowder.                                18·   returned my call.
19·   Q· · · ·Johanna, okay.· And at this point, do you       19·   Q· · · ·You never talked to Tommy Davis?
20·   recall if you had talked with any other employees,      20·   A· · · ·Not -- no, I did not.
21·   on August 11th, beside Johanna?                         21·   Q· · · ·Okay.· Who told you that Mike White is very
22·   A· · · ·It appears -- no.                               22·   tight with Tommy?
23·   Q· · · ·And then it looks like that later that          23·   A· · · ·I don't remember.
24·   afternoon, Joy Jones said, you know, there was at       24·   Q· · · ·And on August 22nd, you state in this
25·   least enough to let them know there was a problem.      25·   e-mail that "this employee stated that he has
                                                    3DJH                                                       3DJH
·1·   And then at that point did you proceed further with     ·1·   witnessed inappropriate behavior/horseplay in the
·2·   the investigation?                                      ·2·   form of Tommy kicking an employee (W4) in the groin,
·3·   A· · · ·Yes.                                            ·3·   smacking the employee in the back of the head and
·4·   Q· · · ·And on August 19th, it looks like Melinda       ·4·   punching the employee in the arm/shoulder area.· He
·5·   McGraw wrote to Joy that you had spoken with two of     ·5·   can't recall the dates, but the most recent was a
·6·   the four alleged witnesses, but neither had             ·6·   few months ago.· He stated he has witnessed the
·7·   substantiated Mike's statement.                         ·7·   kicking in the groin area on more than one
·8·   · · · · What Mike are you referring to?· Michael        ·8·   occasion."
·9·   Kulakowski or Mike White or who?                        ·9·   · · · · Do you recall -- do you know who that was?
10·   A· · · ·Melinda wrote that.· I can only assume she      10·   Does that help refresh your recollection?
11·   meant Michael Kulakowski.                               11·   A· · · ·If I could see that.
12·   Q· · · ·Okay.· And just skipping to the first page,     12·   Q· · · ·Sure.· Exhibit 18.
13·   it looks like on August 22nd, you sent them an          13·   A· · · ·Donnie Taylor.
14·   e-mail saying you just got off the phone with the       14·   Q· · · ·Okay.
15·   third employee.                                         15·   · · · · · · ·MS. COLLINS:· Let's mark the next one
16·   · · · · Who was that?                                   16·   as Exhibit 26.
17·   A· · · ·I don't know.                                   17·   · · · · · · ·(Marked Exhibit No. 26.)
18·   Q· · · ·Was that Jerry Harville?                        18·   BY MS. COLLINS:
19·   A· · · ·No.· I talked to Jerry Harville in person.      19·   Q· · · ·Do you recognize this document?
20·   Q· · · ·Okay.· And you also noted that "it may be       20·   A· · · ·Uh-huh.
21·   that he is unwilling to call me due to being related    21·   Q· · · ·Are these some more of your notes and
22·   to the facility manager, Mike White, as Mike is very    22·   e-mails you sent about the Whited investigation?
23·   tight with Tommy."                                      23·   A· · · ·Yes.
24·   · · · · When you were saying I've still not been        24·   Q· · · ·And on August 17th, you had talked -- had
25·   able to touch base with the fourth, who was that?       25·   you talked with Michael Kulakowski that day?


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·1·   A· · · ·Yes.                                            ·1·   record.
·2·   Q· · · ·Was this the day that you talked with him on    ·2·   · · · · · · ·We just fixed Exhibits 26 and 27.· So
·3·   the phone?                                              ·3·   now Exhibit 26, it's Bates range 207 and 206.· And
·4·   A· · · ·I don't know for sure.                          ·4·   then Exhibit Number 27 is Bates range 208 to 214.
·5·   Q· · · ·Okay.· Now, on the next page, Page 207,         ·5·   BY MS. COLLINS:
·6·   there's an e-mail from Joy Jones to Melinda McGraw,     ·6·   Q· · · ·All right.· Ms. Henley, now, we've gone
·7·   and it asks, "Do you know the names of the employees    ·7·   through the first page that's labeled page --
·8·   referenced below?"                                      ·8·   WestRock 208.· These are your notes from
·9·   · · · · Do you know if there were any employees         ·9·   August 17th with Michael Kulakowski, correct?
10·   referenced initially?                                   10·   A· · · ·Yes, they're notes from Kulakowski.
11·   A· · · ·In the Speak Up! call?                          11·   Q· · · ·And you met with him on August 17th, 2016,
12·   Q· · · ·Yes.                                            12·   correct?
13·   A· · · ·Their names were not referenced in the          13·   A· · · ·I don't remember which date I talked to him
14·   Speak Up! call.                                         14·   on the phone and which date was in person.
15·   Q· · · ·Are there any names that were previously        15·   Q· · · ·Okay.· And your notes from your conversation
16·   referenced before August 9th that you can think of      16·   with him go through what's labeled WestRock 208
17·   or know of?                                             17·   through 209, correct?· Well, and the top of 210.
18·   A· · · ·I'm not sure I understand.                      18·   A· · · ·Yes, to the top of 210.
19·   Q· · · ·Well, on August 9th, had you gotten -- you      19·   Q· · · ·Okay.· And when you talked with him on
20·   probably just don't know.· I mean, it's not -- I was    20·   August 17th, 2016, he had told you about the name
21·   just trying to figure something out.· It's okay.        21·   calling and the hitting and the smacking and the
22·   Let's move on.                                          22·   kicking by Mr. Whited against him, right?
23·   · · · · · · ·MS. COLLINS:· Let's mark the next          23·   A· · · ·Repeat the question, please, ma'am.
24·   document as Exhibit 27.                                 24·   Q· · · ·When you talked with Mr. Kulakowski on
25·   · · · · · · ·(Marked Exhibit No. 27.)                   25·   August 17th, 2016, he told you that he was afraid
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·1·   BY MS. COLLINS:                                         ·1·   of Mr. Whited, right?· That's on the first page.
·2·   Q· · · ·Do you recognize this document?                 ·2·   A· · · ·Yes.
·3·   A· · · ·Yes.                                            ·3·   Q· · · ·And he also told you that Mr. Whited called
·4·   Q· · · ·And are these more notes that you had sent?     ·4·   him different names and threw a helmet at him.· It's
·5·   A· · · ·These are the notes from the investigation      ·5·   on the first page.
·6·   and I sent them to myself, my typed notes.              ·6·   A· · · ·Yes.
·7·   · · · · · · ·MS. COLLINS:· You know what, Mary, we      ·7·   Q· · · ·Okay.· And that he had been kicked in the
·8·   were talking earlier about the disconnect between       ·8·   groin.
·9·   the pages.                                              ·9·   A· · · ·Yes.
10·   · · · · · · ·MS. DOHNER SMITH:· Yes.                    10·   Q· · · ·And that Mr. Whited had grabbed his zipper
11·   · · · · · · ·MS. COLLINS:· I think that this -- the     11·   and asked him to come into the bathroom to do this.
12·   first page of Exhibit 26 is the first page of this      12·   · · · · Do you know what he meant by that?
13·   one.· And so then I'm just not sure what the -- what    13·   A· · · ·He stated Tommy grabbed Tommy's zipper.
14·   207 goes to, but I think it looks like this is what     14·   Q· · · ·Tommy grabbed his own zipper?
15·   the first page, looks like 208, because these are       15·   A· · · ·Yes.
16·   her notes from Kulakowski.                              16·   Q· · · ·And asked Mr. Kulakowski to come into the
17·   · · · · · · ·MS. DOHNER SMITH:· Yeah.                   17·   bathroom and, quote, do this?
18·   · · · · · · ·MS. COLLINS:· Does that sound right to     18·   A· · · ·Yes, that is what Kulakowski said.
19·   you?                                                    19·   Q· · · ·Did you ask him what he meant by do this?
20·   · · · · · · ·MS. DOHNER SMITH:· That looks like,        20·   A· · · ·I don't recall if I asked him that
21·   yes.                                                    21·   specifically.
22·   · · · · · · ·MS. COLLINS:· Okay.· Let's go off the      22·   Q· · · ·What did you take that to understand that
23·   record for one second.                                  23·   meant?
24·   · · · · · · ·(Discussion off the record.)               24·   A· · · ·I didn't know at this time.· When he first
25·   · · · · · · ·MS. COLLINS:· Let's go back on the         25·   told it to me, I didn't understand.· I misunderstood


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·1·   him on the phone conversation.                          ·1·   structure.
·2·   Q· · · ·What do you mean?                               ·2·   Q· · · ·Okay.
·3·   A· · · ·I thought that he meant that Tommy had          ·3·   A· · · ·He was told to report things to Jerry,
·4·   grabbed his zipper.· I misunderstood him.· He later     ·4·   referring to Jerry Harville, then Jerry would report
·5·   explained -- and I don't recall if it's in this --      ·5·   to Larry Eden, and Larry would report to Tommy
·6·   that Tommy grabbed his own zipper while going into      ·6·   Whited.
·7·   the bathroom.                                           ·7·   Q· · · ·Did he say that -- did Mr. Kulakowski tell
·8·   Q· · · ·And said something -- it says, "shake in his    ·8·   you that he had reported some of the things that had
·9·   pants."· "Asking him to come into the bathroom to do    ·9·   happened to him by Mr. Whited to those people?
10·   this; shake in his pants."                              10·   A· · · ·He told me he told Jerry Harville.
11·   A· · · ·Grab the zipper, shook it, like his pants.      11·   Q· · · ·Did he also tell you that he told Larry Eden
12·   Q· · · ·So it was like he was requesting                12·   what had been going on with him?
13·   Mr. Kulakowski come in the bathroom with him?           13·   A· · · ·I don't think so.· I don't know.
14·   A· · · ·I don't know exactly what he was doing.         14·   Q· · · ·And Donnie Taylor substantiated the reports
15·   Q· · · ·Is that what you took that to mean?             15·   that Mr. Kulakowski made about him being kicked,
16·   A· · · ·Repeat it, the question.                        16·   right?
17·   Q· · · ·Is that what you took that to mean, that he     17·   A· · · ·Yes.
18·   was shaking his -- that Mr. Whited was shaking his      18·   Q· · · ·On the next page, it also looks like you
19·   groin area and telling him to come into the             19·   spoke with Cindy Rosas.
20·   bathroom?                                               20·   A· · · ·Yes.
21·   · · · · · · ·MS. DOHNER SMITH:· Objection.              21·   Q· · · ·Is she still there?
22·   · · · · · · ·THE WITNESS:· I don't know what Tommy      22·   A· · · ·I believe so.
23·   meant, so I don't know.                                 23·   Q· · · ·Did you ask her if she had witnessed any
24·   BY MS. COLLINS:                                         24·   hitting or kicking by Tommy Whited towards any of
25·   Q· · · ·But if Mr. Whited was shaking his -- shaking    25·   the male employees?
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·1·   his own groin area and telling Mr. Kulakowski to        ·1·   A· · · ·Repeat the question, please, ma'am.
·2·   come into the bathroom with him, implying some sort     ·2·   · · · · · · ·(The requested question was read back
·3·   of sexual favor, that would be --                       ·3·   by the court reporter as follows:
·4·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·4·   · · · · · · ·"Question:· Did you ask her if she had
·5·   BY MS. COLLINS:                                         ·5·   witnessed any hitting or kicking by Tommy Whited
·6·   Q· · · ·-- inappropriate, correct?                      ·6·   towards any of the male employees?")
·7·   A· · · ·Yes.                                            ·7·   · · · · · · ·THE WITNESS:· No.
·8·   Q· · · ·And that would be sexual harassment,            ·8·   BY MS. COLLINS:
·9·   correct?                                                ·9·   Q· · · ·Why not?
10·   · · · · · · ·MS. DOHNER SMITH:· Objection.              10·   A· · · ·I asked if she witnessed any inappropriate
11·   BY MS. COLLINS:                                         11·   behavior.· I didn't specifically use Tommy's name in
12·   Q· · · ·If he were implying a request for a sexual      12·   any of these questions, it appears.
13·   favor.                                                  13·   Q· · · ·Okay.· And you also didn't ask her
14·   A· · · ·Yes.                                            14·   specifically if she had witnessed any hitting or
15·   Q· · · ·And Mr. Kulakowski also told you that           15·   kicking of any other employees in the groin in the
16·   Mr. Whited had done -- had also hit Jerry Harville      16·   workplace, did you?
17·   in the groin area, right?                               17·   A· · · ·I'm not sure.
18·   A· · · ·Yes.                                            18·   Q· · · ·On Page 4, it's got WestRock 211 down at the
19·   Q· · · ·And you were able to substantiate that          19·   bottom.· Are these your notes from when you talked
20·   allegation, correct?                                    20·   to Jerry Harville?
21·   A· · · ·Yes.                                            21·   A· · · ·Yes.
22·   Q· · · ·And when he told you that he was told to        22·   Q· · · ·And he substantiated that Tommy Whited had
23·   report things to Jerry, to Larry, to Tommy, what do     23·   hit him in his private area, correct?
24·   you mean -- what does that mean?                        24·   A· · · ·He substantiated?
25·   A· · · ·I believe I asked him his reporting             25·   Q· · · ·That Tommy Whited had hit him in his private


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·1·   area.                                                   ·1·   A· · · ·Yes.
·2·   A· · · ·He stated Tommy had hit him in the private      ·2·   Q· · · ·Okay.· And it also says, "He bullies and is
·3·   area, yes.                                              ·3·   intimidating."
·4·   Q· · · ·And he didn't report it because if he had       ·4·   · · · · Is that what Mr. Harville said about
·5·   turned it in, he thought he would lose his job,         ·5·   Mr. Whited?
·6·   right?                                                  ·6·   A· · · ·Yes.
·7·   A· · · ·Yes.                                            ·7·   Q· · · ·Okay.· Did Mr. Harville indicate to you that
·8·   Q· · · ·And he was also one of the ones that            ·8·   he had complained about Mr. Whited to Larry?
·9·   substantiated that he had kicked Michael Kulakowski     ·9·   A· · · ·I don't recall.
10·   in his privates, right?                                 10·   Q· · · ·On the next page at WestRock 212, at the top
11·   A· · · ·I don't recall if it was kicked or hit.         11·   of the page, it says, "Hourly employees being called
12·   Q· · · ·It says, "Inappropriate behavior - kicked       12·   all hours of the night and weekend making them work
13·   Kuli in privates as well."                              13·   but not paid."
14·   A· · · ·Okay.                                           14·   · · · · Did Mr. Harville report that to you?
15·   Q· · · ·So yes?                                         15·   A· · · ·Yes.
16·   A· · · ·Yes.                                            16·   Q· · · ·Did y'all investigate that, where that was
17·   Q· · · ·Okay.· Were these the only notes you took       17·   actually going on?
18·   from your conversation with Jerry Harville?             18·   A· · · ·Yes.
19·   A· · · ·Yes.                                            19·   Q· · · ·What did y'all find out about that?
20·   Q· · · ·Would these have been on the same day that      20·   A· · · ·I don't recall.
21·   you talked with Ms. Rosas on August 15th?               21·   Q· · · ·Who investigated that aspect of it?
22·   A· · · ·Yes.                                            22·   A· · · ·I would have.
23·   Q· · · ·Where did you speak with Mr. Harville?· In      23·   Q· · · ·Was that part of this Whited investigation
24·   person or on the phone?                                 24·   or a separate investigation that employees were
25·   A· · · ·In person.                                      25·   being called all hours of the night and weekend and
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·1·   Q· · · ·Where?                                          ·1·   made to work but not paid?
·2·   A· · · ·Sheet plant.                                    ·2·   A· · · ·It was part of this.
·3·   Q· · · ·And Mr. Harville told you that he had           ·3·   Q· · · ·Did y'all take any steps in response to that
·4·   reported to Larry Eden that his next step was going     ·4·   allegation or substantiate that allegation?
·5·   out the door, right?                                    ·5·   A· · · ·Yes.
·6·   A· · · ·Repeat the question, please.                    ·6·   Q· · · ·What happened?
·7·   Q· · · ·It says right here, "Told Larry to tell         ·7·   A· · · ·We asked questions -- we asked them -- the
·8·   Jerry - my next step is out the door - he bullies       ·8·   names of the employees that were given, we asked
·9·   and is intimidating."                                   ·9·   them if that was the case or not.
10·   · · · · Right?                                          10·   Q· · · ·And what did y'all find out?
11·   A· · · ·Tommy told Larry to tell Jerry.· That's what    11·   A· · · ·I don't recall.
12·   Jerry stated.                                           12·   Q· · · ·Do you recall who you asked about that?
13·   Q· · · ·Tommy told Larry that my next step is out       13·   A· · · ·I don't.
14·   the door?                                               14·   Q· · · ·Did y'all go back and make any adjustments
15·   A· · · ·Tommy told Larry to tell Jerry, his next        15·   to employees' paychecks that claim they had been
16·   step is out the door.                                   16·   called in all hours of the night and weekend and
17·   Q· · · ·So Jerry's job was threatened?· Is that what    17·   made to work off the clock?
18·   you're saying?                                          18·   A· · · ·No.
19·   · · · · · · ·MS. DOHNER SMITH:· Objection.              19·   · · · · · · ·MS. DOHNER SMITH:· Objection.
20·   · · · · · · ·THE WITNESS:· I'm not saying that.· I'm    20·   BY MS. COLLINS:
21·   stating that Jerry told me that Tommy told Larry to     21·   Q· · · ·And the Larry that you referred to here, was
22·   tell Jerry, my next step is out the door.               22·   that Larry Eden?
23·   BY MS. COLLINS:                                         23·   A· · · ·Yes.
24·   Q· · · ·That Jerry's next step was to go out the        24·   Q· · · ·Did you talk to him the same day, on
25·   door, right?                                            25·   August 15th, as you talked with Ms. Rosas and


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·1·   Mr. Harville?                                           ·1·   can figure out who said what - calling the hotline,
·2·   A· · · ·Yes.                                            ·2·   y'all can call the hotline if you want to - he gets
·3·   Q· · · ·Was this in person or on the phone?             ·3·   them and knows what is on them and who calls - she
·4·   A· · · ·In person.                                      ·4·   thinks he is trying to get her to quit."
·5·   Q· · · ·Now, it looks like you had asked him if he      ·5·   · · · · Is that what you were talking about earlier,
·6·   had witnessed any inappropriate behavior.· But do       ·6·   that she had stated that things that Tommy Whited
·7·   you recall specifically asking him if he had seen       ·7·   had said to her or to other employees about calling
·8·   any employees hitting or kicking other employees, in    ·8·   the hotline or filling out the surveys?
·9·   particular hitting or kicking them in the groin?        ·9·   A· · · ·Yes.· Helen stated -- that's the
10·   A· · · ·I didn't -- no, I don't recall doing that.      10·   conversation I had with Helen.· Whether or not she
11·   Q· · · ·Why not?                                        11·   was referencing she overheard him say that to the
12·   A· · · ·I don't recall when I spoke to him how much     12·   other employees or if this was items that he
13·   I knew at that time.                                    13·   specifically said to her, these are things -- so the
14·   Q· · · ·Did you circle back with him and ask him        14·   survey meeting before and said just remember, I can
15·   specifics like that?                                    15·   figure out who said what.· She's saying that she
16·   A· · · ·I don't recall.                                 16·   heard that from Tommy.
17·   Q· · · ·But if you would have, you would have           17·   Q· · · ·Okay.· On the next page it says, "Head count
18·   recorded it in your notes somewhere, right?             18·   for salary, people in Gallatin; vacation - no one
19·   A· · · ·If I did, yes.· I would assume it would be      19·   gets to take it like they should - they are afraid
20·   somewhere in the notes.                                 20·   to turn it in - Larry is afraid to ask for him."
21·   Q· · · ·And on the next page, there's another --        21·   · · · · What is that about?
22·   there's a line there, and it says, "Scruggs, Kuli,      22·   A· · · ·It appears it's a note that I made to myself
23·   Hall, Eden."                                            23·   to look into the head count for salary people in
24·   · · · · What is the context of this?· Is this an        24·   Gallatin, but I'm not sure.
25·   interview or are these just more notes?                 25·   Q· · · ·Were there complaints that people were
                                                   3DJH                                                      3DJH
·1·   A· · · ·They appear to be notes.                        ·1·   afraid to take their vacation?
·2·   Q· · · ·Okay.· Do you know what these notes are         ·2·   A· · · ·Yes.
·3·   from?                                                   ·3·   Q· · · ·It also says down here that "Jerry - was
·4·   A· · · ·Not specifically.                               ·4·   afraid to report his injury because he was scared
·5·   Q· · · ·And you have as one of the notes, "Kuli told    ·5·   Tommy would fire him."
·6·   Lana - that T.W." -- and that's Tommy Whited, right?    ·6·   · · · · Was that Jerry Harville?
·7·   A· · · ·Yes.                                            ·7·   A· · · ·Yes.
·8·   Q· · · ·-- "has kicked him in the balls - he has        ·8·   Q· · · ·Would that be a violation of WestRock policy
·9·   medical condition now because of it."                   ·9·   for a manager to encourage an employee not to report
10·   · · · · Would that have been information that Lana      10·   a workplace injury?
11·   gave you or that Michael Kulakowski gave you?           11·   A· · · ·Yes.
12·   A· · · ·Lana.                                           12·   · · · · · · ·MS. COLLINS:· Let's mark this as
13·   Q· · · ·And it also states, "Jerry Harville - kicked    13·   Exhibit Number 28.
14·   in the balls by T.W."                                   14·   · · · · · · ·(Marked Exhibit No. 28.)
15·   · · · · Who gave you that information?                  15·   BY MS. COLLINS:
16·   A· · · ·Lana.                                           16·   Q· · · ·Is this an e-mail that you sent on
17·   Q· · · ·Okay.· And going down on the e-mail chain,      17·   August 29, 2016?
18·   it looks like you e-mailed yourself on                  18·   A· · · ·Yes.
19·   August 12th, 2016, based on conversations that you      19·   Q· · · ·And you confirmed to Tom Pedine that Donnie
20·   had with Johanna and Helen.· Is that what you were      20·   had seen Tommy Whited slapping him in the nuts,
21·   talking about earlier when you were talking about       21·   kicking him in the nuts, slapping him on the back of
22·   your notes from talking to those two women?             22·   the head?
23·   A· · · ·Yes.                                            23·   A· · · ·Yes.
24·   Q· · · ·Okay.· And by Helen, you have here that         24·   Q· · · ·And that was based on things that you found
25·   "Survey - meeting before and said just remember, I      25·   in your investigation, right?


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·1·   A· · · ·The statement?                                  ·1·   Q· · · ·And you agree that pursuant to WestRock's
·2·   Q· · · ·Yes.                                            ·2·   policies, they had an obligation to report that
·3·   A· · · ·Yes.                                            ·3·   conduct?
·4·   Q· · · ·If you could turn to Exhibit Number 9,          ·4·   A· · · ·Yes.
·5·   please.                                                 ·5·   Q· · · ·And by them not reporting that conduct, the
·6·   · · · · · · ·(Presented Exhibit No. 9.)                 ·6·   supervisors not reporting that conduct, they
·7·   BY MS. COLLINS:                                         ·7·   violated WestRock's policies, didn't they?
·8·   Q· · · ·Have you seen these documents before?           ·8·   A· · · ·Yes.
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·And you agree that grabbing another man in
10·   Q· · · ·Tell me what these are.                         10·   his testicles in the workplace when it's unwanted
11·   A· · · ·They're notes.                                  11·   can constitute sexual harassment, right?
12·   Q· · · ·Well, where did you get them?                   12·   A· · · ·Yes.
13·   A· · · ·I don't recall who exactly sent them to me.     13·   Q· · · ·Could you turn to Exhibit Number 8 in that
14·   I received them via e-mail.                             14·   binder?
15·   Q· · · ·From who?                                       15·   · · · · · · ·(Presented Exhibit No. 8.)
16·   A· · · ·I don't remember.· I don't remember who sent    16·   BY MS. COLLINS:
17·   them.                                                   17·   Q· · · ·Did you create this document?
18·   Q· · · ·When did you get them?                          18·   A· · · ·Yes.
19·   A· · · ·I don't remember the date of the e-mail.        19·   Q· · · ·Was this based on an in-person meeting you
20·   Q· · · ·You don't recall who sent them to you,          20·   had with Michael Kulakowski or a phone call?
21·   though?                                                 21·   A· · · ·I honestly don't remember at this point.
22·   A· · · ·I do not.                                       22·   Q· · · ·Sure.· While you were conducting this
23·   Q· · · ·Was it during your investigation?               23·   investigation into Mr. Whited's behavior, Michael
24·   A· · · ·It was not.                                     24·   Kulakowski continued to work out at the plant with
25·   Q· · · ·Was it before or after Mr. Whited was           25·   him, right?
                                                   3DJH                                                      3DJH
·1·   terminated?                                             ·1·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·2·   A· · · ·I received these after he was terminated.       ·2·   · · · · · · ·THE WITNESS:· I don't know that I could
·3·   Q· · · ·Do you still have the e-mail where you          ·3·   answer that accurately.
·4·   received copies of these?                               ·4·   BY MS. COLLINS:
·5·   A· · · ·I should.                                       ·5·   Q· · · ·Okay.· But you don't recall Mr. Whited being
·6·   Q· · · ·The e-mail that these were attached to, were    ·6·   suspended or being placed out of work, right?
·7·   they color copies or were they black-and-white          ·7·   A· · · ·I don't remember.
·8·   copies like this?                                       ·8·   Q· · · ·But that should be in his personnel file if
·9·   A· · · ·I don't remember.                               ·9·   he were suspended pending investigation, right?
10·   Q· · · ·Have you ever seen the original of these?       10·   · · · · · · ·MS. DOHNER SMITH:· Objection.
11·   A· · · ·No.                                             11·   · · · · · · ·THE WITNESS:· Not necessarily.
12·   Q· · · ·Do you know whose handwriting this is?          12·   BY MS. COLLINS:
13·   A· · · ·I do not recognize the handwriting.             13·   Q· · · ·Would it be part of the investigation file?
14·   Q· · · ·Can you get the e-mail that these are           14·   A· · · ·I don't know.
15·   attached to to your attorney?                           15·   Q· · · ·Would it be reflected in his attendance --
16·   A· · · ·Yes.                                            16·   any sort of attendance or documents like that if he
17·   Q· · · ·Now, prior to the investigation that y'all      17·   were suspended pending an investigation?
18·   launched in August 2016, had any of Michael             18·   A· · · ·No.
19·   Kulakowski's supervisors reported that he -- that       19·   Q· · · ·Well, if an employee were suspended pending
20·   they had seen him being hit or kicked by Tommy          20·   an investigation, y'all would keep track of that
21·   Whited in the groin?                                    21·   somehow, wouldn't you?
22·   A· · · ·Not to me.                                      22·   A· · · ·Yes.
23·   Q· · · ·Do you agree that they should have if they      23·   Q· · · ·How would you keep track of that?
24·   had witnessed such conduct?                             24·   A· · · ·In our HRIS system.
25·   A· · · ·Yes.                                            25·   Q· · · ·So, the HRIS system would indicate whether


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·1·   or not Mr. Whited was suspended pending an              ·1·   · · · · · · ·MS. COLLINS:· Okay.· That's all I have.
·2·   investigation?                                          ·2·   · · · · · · ·MS. DOHNER SMITH:· Unfortunately, I
·3·   A· · · ·If he was suspended without pay, yes.           ·3·   have a few.
·4·   Q· · · ·If he was suspended with pay, would that be     ·4·   · · · · · · · · E X A M I N A T I O N
·5·   reflected anywhere?                                     ·5·   BY MS. DOHNER SMITH:
·6·   A· · · ·Not that I have access to.                      ·6·   Q· · · ·Ms. Henley, just a moment ago you were asked
·7·   Q· · · ·Would it be recorded anywhere that you might    ·7·   about whether or not Tommy Whited was placed on
·8·   not have access to?                                     ·8·   suspension during the investigation or whether
·9·   A· · · ·If he were suspended pending investigation,     ·9·   Mr. Kulakowski had to continue to work on him.
10·   I would not have access to that information.· It        10·   · · · · Mr. Kulakowski was actually on vacation at
11·   would be someone above me.                              11·   the time that the investigation took place, correct?
12·   Q· · · ·But as far as you know, he continued to work    12·   · · · · · · ·MS. COLLINS:· Objection to form.
13·   while you were investigating these allegations?         13·   · · · · · · ·THE WITNESS:· He was on vacation at
14·   A· · · ·I don't remember exactly.                       14·   some point during the investigation, yes.
15·   Q· · · ·If you could turn to Exhibit Number 14 for      15·   BY MS. DOHNER SMITH:
16·   me, please.                                             16·   Q· · · ·If you look on Exhibit 28, Tom Pedine had
17·   · · · · · · ·(Presented Exhibit No. 14.)                17·   asked you about Donnie Taylor confirming
18·   BY MS. COLLINS:                                         18·   Mr. Kulakowski's allegations on August 29th.· And
19·   Q· · · ·Have you seen this document before?             19·   Mr. Whited was terminated the very next day,
20·   A· · · ·Yes.                                            20·   correct, on August 30th?
21·   Q· · · ·It looks like on August 29th, Keith Hall        21·   A· · · ·According to Number 24, separation notice.
22·   had -- had you talked to Keith Hall that day?           22·   · · · · · · ·MS. COLLINS:· I'm just going to object
23·   A· · · ·I'm not sure when I spoke to him.               23·   to form, just due to the inconsistency in the date
24·   Q· · · ·But he let you know that -- it sounds like      24·   beside the initial --
25·   Tommy Whited was calling him, asking him what was       25·   · · · · · · ·MS. DOHNER SMITH:· Well, it says at the
                                                   3DJH                                                      3DJH
·1·   going on with this investigation, right?                ·1·   top of Number 24 --
·2·   A· · · ·Yes.                                            ·2·   · · · · · · ·(Presented Exhibit No. 24.)
·3·   Q· · · ·You have recorded that on Saturday that         ·3·   BY MS. DOHNER SMITH:
·4·   "Keith stated that Tommy told him that we (M.M.,        ·4·   Q· · · ·It says last date employed, from 8/31/1970
·5·   T.P., and T.H.)" -- is that you, Melinda, and Tom       ·5·   to 8/30/16, correct?
·6·   Pedine?                                                 ·6·   A· · · ·Yes.
·7·   A· · · ·Tom Pedine, Terri Henley, Melinda McGraw.       ·7·   Q· · · ·And is that the date that Mr. Whited was
·8·   Q· · · ·-- "had asked Tommy questions about             ·8·   informed of his termination, on August 30, 2016?
·9·   horseplay with employees and about his eating lunch     ·9·   A· · · ·Yes.
10·   and breakfast with Susan."                              10·   Q· · · ·That's the day after Mr. Pedine asked you if
11·   · · · · Right?                                          11·   Mr. Taylor had confirmed the allegations that Tommy
12·   A· · · ·That is in reference to Tommy questioning       12·   Whited was slapping and kicking Mr. Kulakowski,
13·   Keith why we were coming to Gallatin.                   13·   correct?
14·   Q· · · ·Okay.· Is pretty much the context of what       14·   A· · · ·Yes.
15·   you talked about with Keith recorded in your notes      15·   Q· · · ·Earlier you had been asked a question about
16·   here?                                                   16·   Jerry Harville, indicating he didn't report Tommy
17·   A· · · ·Yes.                                            17·   because he thought he would lose his job.
18·   Q· · · ·Okay.· Is this part of the reason why y'all     18·   · · · · Did Mr. Harville indicate that he had hit
19·   had security come out to the plant?                     19·   Tommy back and thought he might get in trouble
20·   · · · · · · ·MS. DOHNER SMITH:· Objection.              20·   because of that?
21·   · · · · · · ·THE WITNESS:· Is what?                     21·   A· · · ·Yes.
22·   BY MS. COLLINS:                                         22·   · · · · · · ·MS. COLLINS:· Objection to form.
23·   Q· · · ·Any of the things that Mr. Hall reported?       23·   BY MS. DOHNER SMITH:
24·   A· · · ·I don't know.· I didn't make the decision       24·   Q· · · ·And when Mr. Harville is reporting that
25·   for security to come out.                               25·   Tommy Whited had apparently told Larry to tell him


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·1·   his next step is out the door, that is something        ·1·   raised, correct?
·2·   that would have happened before he made that report     ·2·   A· · · ·Yes.
·3·   to you, correct?· If he was reporting it, it had to     ·3·   Q· · · ·Okay.· Now, if you turn back to the Summary
·4·   have happened before?                                   ·4·   of Findings and Conclusions, where it says
·5·   A· · · ·Yes.                                            ·5·   "Workplace violence/horseplay," that's the
·6·   Q· · · ·Jerry Harville is not a member of               ·6·   allegation that was raised, correct?
·7·   management, correct?· He's an hourly employee?          ·7·   A· · · ·Yes.
·8·   A· · · ·Correct.                                        ·8·   Q· · · ·And then it just says, "Violation of company
·9·   Q· · · ·And he has no managerial authority?             ·9·   policy."· Correct?
10·   A· · · ·Correct.                                        10·   A· · · ·Correct.
11·   Q· · · ·Earlier you were asked if Tommy Whited shook    11·   Q· · · ·You didn't list out the actual policies that
12·   his groin and asked for sexual favors, would that be    12·   it violated, correct?
13·   a violation of the harassment policy, and you said      13·   A· · · ·Correct.
14·   yes.                                                    14·   Q· · · ·You just noted that it was an overall
15·   · · · · Did Mr. Kulakowski ever report to you that      15·   violation of company policy?
16·   Tommy Whited shook his groin and asked for sexual       16·   A· · · ·Yes.
17·   favors from him?                                        17·   Q· · · ·So it's not that you were saying that Tommy
18·   A· · · ·No.                                             18·   Whited's conduct was not a violation of the
19·   Q· · · ·Despite the fact that Mr. Whited denied         19·   harassment policy; you just didn't list out the
20·   allegations that he kicked and hit employees in the     20·   policies.
21·   groin, he was terminated, correct?                      21·   A· · · ·Correct.
22·   · · · · · · ·MS. COLLINS:· Objection to form.           22·   Q· · · ·You were asked if security was called as a
23·   · · · · · · ·THE WITNESS:· Yes.                         23·   matter of course when a GM is let go.
24·   BY MS. DOHNER SMITH:                                    24·   · · · · Have you ever had another instance where a
25·   Q· · · ·If you take a look at Exhibit 22, what is       25·   general manager of one of your facilities was
                                                   3DJH                                                      3DJH
·1·   marked as Exhibit 22.                                   ·1·   terminated?
·2·   · · · · · · ·(Presented Exhibit No. 22.)                ·2·   A· · · ·No.
·3·   BY MS. DOHNER SMITH:                                    ·3·   Q· · · ·So you don't know if that would be normal
·4·   Q· · · ·On the second page, you were asked questions    ·4·   course when a GM is let go?
·5·   about Mr. Whited saying he had not participated in      ·5·   A· · · ·Correct.
·6·   horseplay under the definition.· You indicated you      ·6·   Q· · · ·Earlier you were asked some questions about
·7·   couldn't recall what the definition is.                 ·7·   whether or not knowing about an allegation of sexual
·8·   · · · · Would you go ahead and read the question        ·8·   harassment against Tommy Whited in 2013 had made a
·9·   before that?                                            ·9·   difference, and you said no.· Is that because he was
10·   A· · · ·"What is your definition of horseplay?"         10·   terminated regardless?
11·   Q· · · ·All right.· Then he provided his definition     11·   · · · · · · ·MS. COLLINS:· Objection to form.
12·   there, correct?                                         12·   · · · · · · ·THE WITNESS:· Would you repeat the
13·   A· · · ·Yes.                                            13·   question?
14·   Q· · · ·So is that the definition he was referring      14·   BY MS. DOHNER SMITH:
15·   to?                                                     15·   Q· · · ·Earlier you had said you didn't think
16·   A· · · ·Yes.                                            16·   knowing of the 2013 sexual harassment complaint
17·   Q· · · ·If you'd go ahead and grab what was marked      17·   against Tommy Whited would make a difference in this
18·   as Exhibit Number 19.                                   18·   situation.
19·   · · · · · · ·(Presented Exhibit No. 19.)                19·   · · · · Why wouldn't it have made a difference?
20·   BY MS. DOHNER SMITH:                                    20·   A· · · ·Because my investigation revealed -- because
21·   Q· · · ·If you look at the page, at the bottom it's     21·   of my current investigation.
22·   marked as Page 228, toward the top it says, "New        22·   Q· · · ·You would have conducted a thorough
23·   Information:· Workplace violence/horseplay - GM has     23·   investigation regardless?
24·   physically assaulted employees."                        24·   A· · · ·Yes.
25·   · · · · That referenced the allegations that were       25·   Q· · · ·And as a result of your investigation,


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·1·   Mr. Whited was let go?                                  ·1·   managerial level position?
·2·   A· · · ·Yes.                                            ·2·   A· · · ·No.
·3·   Q· · · ·If you could grab for us, I think it was        ·3·   Q· · · ·Earlier you had been asked about a manager
·4·   Number 4.                                               ·4·   showing his private parts to a subordinate and you
·5·   · · · · · · ·(Presented Exhibit No. 4.)                 ·5·   said, no, it wouldn't necessarily be sexual
·6·   BY MS. DOHNER SMITH:                                    ·6·   harassment.
·7·   Q· · · ·If you turn to Page 7, you were asked about     ·7·   · · · · It would have to depend on the
·8·   the complaints hotline not saying anything specific     ·8·   circumstances, correct?
·9·   about harassment.· But it does say, "Complaints         ·9·   · · · · · · ·MS. COLLINS:· Objection to form.
10·   about suspected violations by any RockTenn              10·   · · · · · · ·THE WITNESS:· Yes.
11·   employee...of any law or of any RockTenn code of        11·   BY MS. DOHNER SMITH:
12·   business conduct and ethics."                           12·   Q· · · ·For example, if they were in a consensual
13·   A· · · ·Yes.                                            13·   sexual relationship, it wouldn't amount to sexual
14·   Q· · · ·So it basically covers anything.                14·   harassment?
15·   A· · · ·Yes.                                            15·   A· · · ·Correct.
16·   Q· · · ·Okay.· And if you turn to Pages 11 and 12 of    16·   Q· · · ·WestRock doesn't consider it to be a term or
17·   the harassment policy, throughout here it actually      17·   condition of employment to be hit or kicked in the
18·   says, call the compliance hotline, correct?             18·   groin, does it?
19·   A· · · ·Yes.                                            19·   · · · · · · ·MS. COLLINS:· Objection to form.
20·   Q· · · ·It actually says it a number of times?          20·   BY MS. DOHNER SMITH:
21·   A· · · ·Yes.                                            21·   Q· · · ·Have you ever heard anyone in WestRock upper
22·   Q· · · ·Okay.· Now, in the policy, it says if a         22·   management say, in order to work here, you have to
23·   manager is involved, harassment should be reported      23·   be hit or kicked in the groin?
24·   to local HR.                                            24·   A· · · ·No.
25·   · · · · Prior to August of 2016, did Michael            25·   Q· · · ·In fact, that type of conduct is prohibited,
                                                   3DJH                                                      3DJH
·1·   Kulakowski ever report anything to you indicating he    ·1·   correct?
·2·   had been sexually harassed?                             ·2·   A· · · ·Yes.
·3·   A· · · ·He did not.                                     ·3·   Q· · · ·Earlier you had been asked if hitting
·4·   Q· · · ·When Mr. Kulakowski met with you and talked     ·4·   another employee in the groin is conduct of a sexual
·5·   with you in August of 2016, did he ever tell you he     ·5·   nature.
·6·   had been sexually harassed?                             ·6·   · · · · Would that depend on the circumstances as
·7·   · · · · · · ·MS. COLLINS:· Objection to form.           ·7·   well?
·8·   BY MS. DOHNER SMITH:                                    ·8·   A· · · ·Yes.
·9·   Q· · · ·Did he use those words?                         ·9·   · · · · · · ·MS. COLLINS:· Objection to form.
10·   A· · · ·I don't recall.                                 10·   BY MS. DOHNER SMITH:
11·   Q· · · ·If that had been something he had said,         11·   Q· · · ·For example, two guys joking around with
12·   would you have put it in your notes?                    12·   each other, kind of locker room, smacking each other
13·   A· · · ·Yes.                                            13·   with a towel type of thing, that wouldn't
14·   · · · · · · ·MS. COLLINS:· Objection to form.           14·   necessarily be sexual in nature, would it?
15·   BY MS. DOHNER SMITH:                                    15·   · · · · · · ·MS. COLLINS:· Objection to form.
16·   Q· · · ·Earlier you answered a question that Michael    16·   · · · · · · ·THE WITNESS:· Not necessarily.
17·   Kulakowski told you he had -- or that Michael           17·   · · · · · · ·MS. DOHNER SMITH:· I think that's it.
18·   Kulakowski had reported to you that on numerous         18·   · · · · · · ·FURTHER DEPONENT SAITH NOT.
19·   occasions, he had been hit or kicked and it had been    19·   · · · · · · ·(Proceedings concluded at 3:10 p.m.)
20·   witnessed by managers.                                  20
21·   · · · · Was he saying he had reported that on           21
22·   numerous occasions or that it had happened on           22
23·   numerous occasions?                                     23
24·   A· · · ·It had happened on numerous occasions.          24
25·   Q· · · ·Is the safety coordinator position a            25


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·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
·4· Public and Court Reporter, do hereby certify that I
·5· recorded to the best of my skill and ability by
·6· machine shorthand all the proceedings in the
·7· foregoing transcript, and that said transcript is a
·8· true, accurate, and complete transcript to the best
·9· of my ability.
10· · · · · · · ·I further certify that I am not an
11· attorney or counsel of any of the parties, nor a
12· relative or employee of any attorney or counsel
13· connected with the action, nor financially
14· interested in the action.
15· · · · · · · ·SIGNED this 27th day of November, 2017.
16
17
18
19
20· · · · · · · ·____________________________________
21· · · · · · · · · · Jerri L. Porter, RPR, CRR
22· My Notary commission expires:· 2/19/2018
23· Tennessee LCR No. 335
· · Expires:· 6/30/2018
24
25

                                                        3DJH
·1· · · · · · · · · · · ·E R R A T A
·2
·3· · · ·I, TERRI HENLEY, having read the foregoing
· · deposition, Pages 1 through 129, taken
·4· November 15, 2017, do hereby certify said
· · testimony is a true and accurate transcript,
·5· with the following changes, if any:
·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·7· _____· ·_____· · ·______________________________
·8· _____· ·_____· · ·______________________________
·9· _____· ·_____· · ·______________________________
10· _____· ·_____· · ·______________________________
11· _____· ·_____· · ·______________________________
12· _____· ·_____· · ·______________________________
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17
18· · · · · · ·______________________________
19· · · · · · · · · · · TERRI HENLEY
20
21
22· ____________________________
· · · · · Notary Public
23· My commission expires:· _____________
24
25



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